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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                       )
 In re:                                                                )   Chapter 11
                                                                       )
 TOYS “R” US, INC., et al., 1                                          )   Case No. 17-34665 (KLP)
                                                                       )
                             Debtors.                                  )   (Jointly Administered)
                                                                       )
                                                                       )   Re: Docket No. 711


           FINAL ORDER (A) AUTHORIZING THE NORTH AMERICAN
       DEBTORS’ ENTRY INTO WAIVERS WITH RESPECT TO ABL/FILO DIP
       DOCUMENTS AND THE TERM DIP DOCUMENTS AND (B) AMENDING
     FINAL ORDER (I) AUTHORIZING THE NORTH AMERICAN DEBTORS TO
       OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING THE NORTH
    AMERICAN DEBTORS TO USE CASH COLLATERAL, (III) GRANTING LIENS
     AND PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
   (IV) GRANTING ADEQUATE PROTECTION TO THE PREPETITION LENDERS,
 (V) MODIFYING THE AUTOMATIC STAY AND (VI) GRANTING RELATED RELIEF
 _____________________________________________________________________________

 1
           The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
           identification number, are set forth in the Debtors’ Motion for Entry of an Order (I) Directing Joint
           Administration of Chapter 11 Cases and (II) Granting Related Relief filed contemporaneously
           herewith. The location of the Debtors’ service address is One Geoffrey Way, Wayne, NJ 07470
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           Upon the Motion (the “Motion”) of the Debtors seeking an order (this “Order”)

 (A) authorizing the North American Debtors to enter into that certain Waiver substantially in the

 form attached hereto as Exhibit 1 (the “ABL/FILO Waiver”) and that certain Waiver

 substantially in the form attached hereto as Exhibit 2 (the “Term DIP Waiver” and together with

 the ABL/FILO Waiver, the “Waivers”) and (B) amending the Final Order (I) Authorizing The

 North American Debtors To Obtain Postpetition Financing, (II) Authorizing The North American

 Debtors To Use Cash Collateral, (III) Granting Liens And Providing Superpriority

 Administrative Expense Status, (IV) Granting Adequate Protection To The Prepetition Lenders,

 (V) Modifying The Automatic Stay And (VI) Granting Related Relief [Docket No. 711] (the

 “Final DIP Order” and the amendments thereto, the “DIP Order Amendments”) 2 ; and the

 Motion, and opportunity for a hearing, being consistent with paragraph 6 of the Final DIP Order

 and the Order (I) Establishing Certain Notice, Case Management, And Administrative

 Procedures And (II) Granting Related Relief [Docket No. 129], and appropriate under the

 circumstances; and a hearing to consider approval of the Motion having been held by this Court

 on March 20, 2018 (the “Interim Hearing”); and the Court having entered an order approving the

 relief requested in the Motion on an interim basis on March 21, 2018 [Docket No. 2318] (the

 “March 21 Order”), as amended by the orders entered by the Court on March 27, 2018 [Docket

 No. 2427] (the “March 27 Order”), April 13, 2018 [Docket No. 2713] (the “April 13 Order”) and

 April 20, 2018 [Docket No. 2796] (the “April 20 Order” and, together with the March 21 Order,

 the March 27 Order and the April 13 Order, the “Interim Orders”); and a hearing to consider

 approval of the Motion on a final basis having been held on April 24, 2018 (the “Final

 Hearing”), and the Court having determined that the legal and factual bases set forth in the

 2
           All capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Final
           DIP Order and the Motion, as applicable.
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 Motion and at the Interim Hearing and the Final Hearing establish just cause for the relief

 granted herein; and upon the record made in the Motion and at the Interim Hearing and Final

 Hearing, and after due deliberation and good and sufficient cause having been shown;

           IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED THAT:

           1.     Disposition. The relief requested in the Motion is GRANTED ON A FINAL

 BASIS in accordance with the terms of this Order. Any objections to the Motion that have not

 been withdrawn, waived or settled, and all reservations of rights included therein, are hereby

 DENIED and OVERRULED on the merits.

           2.     Jurisdiction, Venue. This Court has core jurisdiction over the Chapter 11 Cases,

 the Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and

 1334 and the Standing Order of Reference from the United States District Court for the Eastern

 District of Virginia, dated August 15, 1984. Venue is proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409. This Court may enter this final Order consistent with Article III of

 the United States Constitution.

           3.     Notice. The notice given by the Debtors of the Motion, the relief requested

 therein and the Interim Hearing and Final Hearing thereon constitutes proper, timely, adequate

 and sufficient notice thereof and complies with the Bankruptcy Code, the Bankruptcy Rules, the

 Local Bankruptcy Rules and any other applicable law, and no other or further notice thereof is

 required.

           4.     Continued Application of Final DIP Order. The Final DIP Order shall remain

 unchanged and in full force and effect, including with respect to the Waivers, except to the extent

 expressly modified by this Order and by the terms of the ABL/FILO Waiver or the Term DIP

 Waiver, and the budgets attached thereto and hereto as Exhibit 3 (the “Wind-Down Budget”).


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 For the avoidance of doubt, nothing herein or in the Waivers shall modify or amend the

 provisions in the Final DIP Order regarding 506(c), 552(b) or marshalling or any terms of the

 Final DIP Order governing the permitted use of DIP Loans, Cash Collateral, DIP Collateral or

 Prepetition Collateral, and all such provisions shall remain fully applicable with all parties’ rights

 reserved. All factual and other findings and conclusions of law contained in the Final DIP Order

 shall remain fully applicable, including with respect to the ABL/FILO Waiver or the Term DIP

 Waiver, except to the extent specifically modified herein, subject to the Creditors’ Committee’s

 challenge rights as preserved in the Stipulation and Agreed Order Extending the Challenge

 Period Through March 30, 2018 [Docket No. 1772], and the Second Stipulation and Agreed

 Order Extending the Challenge Period Through April 30, 2018 [Docket No. 2465], or as further

 agreed by the parties or ordered by the Court.

           5.     Authority to Enter into the Waivers. The Borrowers are authorized to enter into

 the ABL/FILO Waiver and the Term DIP Waiver, to make, execute, and deliver all instruments

 and documents, and to perform all acts in connection therewith that may be reasonably required

 for the Borrowers’ performance of their obligations under the ABL/FILO Waiver and the Term

 DIP Waiver.

           6.     Waivers Valid and Binding. The terms of both the ABL/FILO Waiver and the

 Term DIP Waiver are hereby approved. Upon execution and delivery of the ABL/FILO Waiver,

 and upon the satisfaction (or waiver) of the conditions to effectiveness set forth in the ABL/FILO

 Waiver, the ABL/FILO Waiver shall constitute (a) one of the ABL/FILO DIP Documents and

 (b) a valid and binding obligation of each of the parties thereto, enforceable against each party

 thereto in accordance with the terms thereof. Upon execution and delivery of the Term DIP

 Waiver, and upon the satisfaction of the conditions to effectiveness set forth in the Term DIP


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 Waiver, the Term DIP Waiver shall constitute (a) one of the Term DIP Documents and (b) a

 valid and binding obligation of each of the parties thereto, enforceable against each party thereto

 in accordance with the terms thereof. Except as otherwise provided in this Order, the Interim

 Orders, the Final DIP Order, the ABL/FILO DIP Documents or the Term DIP Documents,

 no obligation or payment under the ABL/FILO Waiver, the Term DIP Waiver, the Interim

 Orders, or this Order shall be stayed, restrained, voidable, avoidable, or recoverable under the

 Bankruptcy Code or under any applicable law, or subject to any defense, reduction, setoff,

 recoupment, or counterclaim.

           7.     Wind-Down Budget. The Wind-Down Budget (including its constituent Domestic

 Wind-Down Budget and Canadian Going Concern Budget (each as defined in the Waivers)) is

 hereby approved.

           8.     Good Cause. Good cause has been shown for the entry of this Order. The relief

 requested in the Motion is in the best interests of the Debtors, their creditors and their estates and

 all other parties-in-interest in these Chapter 11 Cases, and is necessary, essential, and appropriate

 for the management and preservation of the Debtors’ estates.            The terms of each of the

 ABL/FILO Waiver and the Term DIP Waiver are fair and reasonable, reflect the Debtors’

 exercise of prudent business judgment, and are supported by reasonably equivalent value and fair

 consideration.

           9.     Amendment of Final DIP Order. The Final DIP Order is hereby amended as

 follows:

                  a.     Paragraph 9(a)(iii) of the Final DIP Order is replaced with:

                  “to the extent allowed at any time, whether by interim order,
                  procedural order, or otherwise, all unpaid fees and expenses (the
                  “Allowed Professional Fees”) incurred by persons or firms
                  retained by the Debtors pursuant to section 327, 328 or 363 of the
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                   Bankruptcy Code (the “Debtor Professionals”) and the creditors’
                   committee (the “Creditors’ Committee”) pursuant to section 328
                   or 1103 of the Bankruptcy Code (the “Committee Professionals”
                   and, together with the Debtor Professionals, the “Professional
                   Persons”), allocable to the Borrowers and, with respect to each
                   Professional Person, (i) accrued on or prior to March 15, 2018,
                   plus (ii) not in excess of the aggregate amounts provided for such
                   Professional Person pursuant to the Domestic Wind-Down Budget
                   (as defined in the amendments to the ABL/FILO DIP Credit
                   Agreement and the Term DIP Credit Agreement dated March 20,
                   2018) 3 for the period from March 15, 2018 (prorated for the month
                   of March 2018) through the date to which such allowed amounts
                   accrued (in each case other than any restructuring, sale or other
                   success fee of any investment bankers or financial advisors of the
                   Debtors or any committee, and other than fees and expenses of
                   third party professionals employed by Creditors’ Committee
                   members) at any time before or on the first business day following
                   delivery by a DIP Agent of a Carve-Out Trigger Notice (as defined
                   below), whether allowed by this Court prior to or after delivery of
                   a Carve-Out Trigger Notice; and”

                   b.       Paragraph 9(a)(iv) of the Final DIP Order is replaced with:

                   “Allowed Professional Fees of Professional Persons in an
                   aggregate amount not to exceed: $2,500,000 incurred after the first
                   business day following delivery by a DIP Agent of the Carve-Out
                   Trigger Notice to the extent allowed at any time, whether by
                   interim order, procedural order or otherwise, and allocable to the
                   Borrowers pursuant to the DIP Budget (the amounts set forth in
                   this clause (iv) being the “Post-Carve-Out Trigger Notice
                   Cap”).”

                   c.       Paragraph 9 of the Final DIP Order is supplemented by adding the
                            following at the end thereof:

                   “Notwithstanding anything to the contrary in this Order or in any
                   of the DIP Documents, all rights of the ABL/FILO DIP Secured
                   Parties and the Term DIP Secured Parties with respect to the
                   allocation of the Carve-Out as between the ABL Collateral (as
                   defined in the DIP ICA) and the Term Collateral (as defined in the
                   DIP ICA) are fully reserved.”


 3
           To the extent that the amounts accrued in a particular month for any Professional Person is less than the
           amount budgeted for such Professional Person under the Domestic Wind-Down Budget (any such amount,
           a “Budget Surplus”), the amount budgeted under the Domestic Wind-Down Budget for such Professional
           Person in subsequent months shall increase by any aggregate Budget Surplus.
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                    d.       Paragraph 18(c) of the Final DIP Order is amended by replacing clause (ii)
                             thereof with the following:

                    “(ii) the Ad Hoc Group of B-2 Term Lenders and B-3 Term
                    Lenders, limited to an aggregate of $50,000 per month of (A) the
                    reasonable and documented hourly fees and expenses of Arnold &
                    Porter Kaye Scholer LLP as counsel to the Ad Hoc Group of B-2
                    Term Lenders and B-3 Term Lenders, and (B) the reasonable and
                    documented hourly fees and expenses of Huron Consulting Group
                    Inc. as financial advisor to the Ad Hoc Group of B-2 Term Lenders
                    and B-3 Term Lenders; which payments shall, in the case of both
                    (i) and (ii) above, be made in the manner provided for in paragraph
                    19 below; provided that the members of such Ad Hoc Group of B-
                    2/B-3 Lenders shall also have access to the work product of, and
                    be entitled to consult with, Houlihan Lokey Capital Inc. with
                    respect to matters not involving a conflict between the interests of
                    Term B-2/B-3 Lenders, on the one hand, and Term B-4 Lenders,
                    on the other hand; and provided further that the Ad Hoc Group of
                    B-4 Term Lenders will be limited to an aggregate of $50,000 per
                    month in professional fee and expense reimbursements under this
                    Paragraph with respect to matters involving a conflict between the
                    interests of Term B-2/B-3 Lenders, on the one hand, and Term B-4
                    Lenders, on the other hand. Notwithstanding anything to the
                    contrary in the Final DIP Order, the Debtors shall no longer be
                    authorized or permitted to make any Adequate Protection
                    Payments (as defined in the Final DIP Order), except to the extent
                    expressly made in accordance with the Wind-Down Budget.”

                    e.       Paragraph 37 of the Final DIP Order is supplemented 4 by adding the
                             following at the end thereof: 5

                    “To the extent that any of the obligations of the Canadian
                    ABL/FILO Borrower under the ABL/FILO DIP Documents are
                    satisfied, as to any ABL/FILO DIP Secured Party, by or with funds
                    of the US Borrower or any other North American Debtor, such
                    obligations shall not be discharged (unless and until ultimately
                    paid or reimbursed by the Canadian ABL/FILO Borrower), but
                    rather the US Borrower or such North American Debtor, as the
                    case may be (in such capacity, the “Subrogated Borrower”), shall
                    (in addition to any other rights granted to sureties under applicable
                    law) be subrogated to the rights of the applicable ABL/FILO DIP

 4
           Except as expressly set forth this paragraph 9(e) of this Order, nothing in this Order shall amend, modify or
           limit in any way paragraph 37 of the Final DIP Order.
 5
           To clarify that the Collateral is released and the obligations terminated if the amount of the subrogated
           claim is subsequently reimbursed by the Canadian ABL/FILO Borrower.
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                  Lenders, shall stand in the position of the applicable ABL/FILO
                  DIP Lenders, and shall be entitled to all the equities of the
                  applicable ABL/FILO DIP Lenders, in each case with respect to
                  such obligations of the Canadian ABL/FILO Borrower, and such
                  rights of the applicable ABL/FILO DIP Lenders to which the
                  Subrogated Borrower has been subrogated and such obligations of
                  the Canadian ABL/FILO Borrower to the Subrogated Borrower
                  shall constitute Collateral subject to all of the Liens securing the
                  DIP Obligations and all of the Adequate Protection Liens including
                  the Canadian DIP Charge granted by the Canadian Court, in each
                  case without set off, counterclaim, or recoupment of any kind, until
                  ultimately paid or reimbursed by the Canadian ABL/FILO
                  Borrower. For the avoidance of doubt, any such subrogation rights
                  shall be subject to Section 10.07 of the ABL/FILO DIP Credit
                  Agreement, and any liens granted in such subrogation rights and
                  any exercise thereof shall be subject to the DIP ICA. The US
                  Borrower is hereby authorized and directed to use proceeds of
                  Prime Rate Loans issued (as defined in the ABL/FILO DIP Credit
                  Agreement) on the effective date of the Waivers, in an amount
                  equal to the U.S. dollar equivalent of CAD $5,112,945.28, to cash
                  collateralize the Canadian Letter of Credit Outstandings (as
                  defined in the ABL/FILO DIP Credit Agreement) in accordance
                  with the ABL/FILO Waiver; provided that the US Borrower’s
                  claims in respect thereof shall be subrogated to the claims of the
                  ABL/FILO DIP Lenders in accordance with the terms of this
                  Order.”

           10.    Lazard Fees. Notwithstanding anything to the contrary in this Order, the Interim

 Orders, the Final DIP Order, the Interim DIP Order, the DIP Documents, or the Order (I)

 Authorizing the Employment and Retention of Lazard Frères & Co. LLC as Investment Banker to

 the Debtors and Debtors in Possession, Effective Nunc Pro Tunc to the Petition Date, (II)

 Modifying Certain Time Keeping Requirements, and (III) Granting Related Relief [Docket No.

 732] (the “Lazard Retention Order”), any sale or transaction fees payable to Lazard Frères & Co

 (“Lazard”) pursuant to the Lazard Retention Order in connection with any asset sales of

 Collateral shall be added to the Carve-Out (payable subject to further order of the Court), and

 shall have priority over and be paid before any amounts included in the ABL Wind-Down Carve

 Out, or the Term Loan Wind-Down Carve Out, or any DIP Obligations, in each case from the
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 proceeds of such asset sales at the closing of such asset sales, but subject to clawback for the

 account of a particular Debtor and/or adjustment or allocation across Debtors to the extent

 aggregate fees earned by Lazard exceed the cap set forth in paragraph 16 of the Lazard Retention

 Order.

           11.    Wind-Down Order. Notwithstanding anything to the contrary in this Order, the

 Interim Orders, the Final DIP Order, the Interim DIP Order, or the DIP Documents, any and all

 fees, costs and/or expenses payable to the Consultants (as defined in the Order (I) Authorizing

 the Debtors to Wind-Down U.S. Operations, (II) Authorizing the Debtors to Conduct U.S. Store

 Closings, (III) Enforcing and Administrative Stay, and (IV) Granting Related Relief (the “Wind-

 Down Order”)), pursuant to the Wind-Down Order or the Order (I) Authorizing the Debtors to

 Enter into the Consulting Agreements, (II) Authorizing and Approving the Conduct of Store

 Closing Sales, With Such Sales to Be Free and Clear of All Liens, Claims and Encumbrances,

 (III) Authorizing Customary Bonuses to Employees of Closing Stores, and (IV) Granting Related

 Relief (the “Initial Store Closing Order”) shall be added to the Carve-Out, and have priority over

 and be paid before any amounts included in the ABL Wind-Down Carve Out, or the Term Loan

 Wind-Down Carve Out, or any DIP Obligations, provided that the Consultants shall not share in

 the Post-Carve-Out Trigger Notice Cap.

           12.    Wind-Down Priorities.   The DIP Order is amended to reflect that amounts

 (i) payable to employees of the DIP Loan Parties (other than the Canadian ABL/FILO

 Borrower), (ii) payable to taxing authorities on account of trust fund taxes incurred by the DIP

 Loan Parties (other than the Canadian ABL/FILO Borrower), including payroll taxes and sales

 and use taxes, or (iii) payable to third party vendors, in each case, on account of goods (other

 than, except as and to the extent provided in 12(b) and 12(c) below, merchandise inventory) or


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 services (including, without limitation, third-party landlords and other third party service

 providers) in the case of each of (i)-(iii) on account of goods or services actually provided to or

 trust fund taxes incurred by the DIP Loan Parties (other than the Canadian ABL/FILO

 Borrower), in each case incurred by the Debtors on or after the dates specified below

 (collectively, the “Employee and New Value Expenses”), shall have superpriority status under

 section 364 of the Bankruptcy Code solely to the extent set forth below:

               a. subject only to the Carve Out, allowed and unpaid Employee and New Value

                  Expenses not to exceed the amount therefor set forth in the “Domestic Wind-

                  Down Budget” attached to the ABL/FILO Waiver as Exhibit A thereto (provided

                  that Employee and New Value Expenses of the type described in clause (iii) of the

                  definition thereof, shall not be subject to limitation by such budget) incurred by

                  the DIP Loan Parties (other than the Canadian ABL/FILO Borrower) on or after

                  March 15, 2018 and before the earlier to occur of (x) the repayment in full in cash

                  of all ABL/FILO DIP Obligations and (y) the date that is five (5) Business Days

                  following written notice by the ABL/FILO DIP Lenders to (i) the Debtors, (ii) the

                  Creditors’ Committee, (iii) the Term DIP Agent and (iv) the US Trustee, of any

                  Event of Default under the ABL/FILO DIP Facility (the “ABL/FILO EOD

                  Notice”) shall be senior to all liens and claims securing the ABL/FILO DIP

                  Facility and the Term DIP Facility, the Canadian Intercompany DIP Facility, the

                  Wayne DIP Facility, Adequate Protection Liens, and the 507(b) Claims, and any

                  and all other forms of adequate protection, liens, or claims securing the DIP

                  Obligations, or the obligations secured pursuant to any prepetition secured




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                  facilities (including the Prepetition Term Loan Credit Facility and the Prepetition

                  ABL/FILO Credit Facility) (the “ABL Wind-Down Carve Out”); and

               b. (i) allowed and unpaid Employee and New Value Expenses not to exceed the

                  amount therefor set forth in the “Domestic Wind-Down Budget” attached to the

                  Term DIP Waiver as Exhibit A thereto (provided that Employee and New Value

                  Expenses of the type described in clause (iii) of the definition thereof (but

                  excluding merchandise inventory), shall not be subject to limitation by such

                  budget) incurred by the DIP Loan Parties (other than the Canadian ABL/FILO

                  Borrower) on or after March 5, 2018 through the earlier to occur of (x) the

                  repayment in full in cash of all Term DIP Obligations and the obligations under

                  Prepetition Term Loan and (y) the date that is five (5) Business Days following

                  written notice by the Term DIP Lenders to (1) the Debtors, (2) the Creditors’

                  Committee, (3) the ABL/FILO DIP Agent and (4) the US Trustee, of any Event of

                  Default under the Term DIP Facility (the “Term Loan EOD Notice”), (ii) the

                  obligation to fund the Merchandise Reserve as set forth below shall be (x) senior

                  to all liens and claims securing the Term DIP Facility, the Canadian Intercompany

                  DIP Facility, the Wayne DIP Facility, Prepetition Term Loan Adequate Protection

                  Liens, and the 507(b) Claims, and any and all other forms of adequate protection,

                  liens, or claims securing the Term DIP Obligations, or the obligations secured

                  pursuant to the Prepetition Term Loan Credit Facility, and (y) junior only to the

                  Carve Out, the ABL Wind-Down Carve Out, and, with respect to the Prepetition

                  ABL/FILO Priority Collateral, the ABL/FILO DIP Liens, the Prepetition

                  ABL/FILO Adequate Protection Liens, and the Contingent ABL/FILO Liens (the


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                   “Term Loan Wind-Down Carve Out”) and (iii) the funds in the Merchandise

                   Reserve shall be (x) free and clear of all liens and claims securing the Term DIP

                   Facility, the Canadian Intercompany DIP Facility, the Wayne DIP Facility,

                   Prepetition Term Loan Adequate Protection Liens, and the 507(b) Claims, and

                   any and all other forms of adequate protection, liens, or claims securing the Term

                   DIP Obligations, or the obligations secured pursuant to the Prepetition Term Loan

                   Credit Facility and (y) subject only to the Carve Out, the ABL Wind-Down Carve

                   Out, the ABL/FILO DIP Liens, and, with respect to the Prepetition ABL/FILO

                   Priority Collateral, the Prepetition ABL/FILO Adequate Protection Liens, and the

                   Contingent ABL/FILO Liens.

               c. The US Borrower shall establish a reserve in a segregated account (the

                   “Merchandise Reserve”), which Merchandise Reserve shall be in an amount equal

                   to the cost of all merchandise received by the DIP Loan Parties 6 (other than the

                   Canadian ABL/FILO Borrower) for the period on and after March 5, 2018 and

                   that has not been paid for, which amounts shall be subject to a reconciliation to be

                   determined by the Debtors, subject to consultation, review, and objection by the

 6
           As used herein, the clause “cost of all merchandise received by the DIP Loan Parties” refers to the
           contracted price of such merchandise between the selling vendor or its agent and the applicable DIP Loan
           Party, giving effect to any allowances, rebates or reductions under applicable agreements solely if and to
           the extent such allowance, rebates, or reductions are applicable to the invoices at issue. In addition, for
           purposes of determining when merchandise is “received” as used herein, received shall be determined by
           when: (i) such merchandise is received by the DIP Loan Parties at their distribution centers, or (ii) to the
           extent any merchandise is not transported to any of the Loan Parties’ distribution centers, such merchandise
           is received at domestic docks for pickup by the Loan Parties or their agents, or (iii) in the case of any
           merchandise that is fulfilled through online ordering, such merchandise is received by the Loan Parties’
           customers in fulfillment of such online orders placed through the Loan Parties’ websites. For the avoidance
           of doubt, any merchandise for which a DIP Loan Party already paid, or any merchandise initially accepted
           by a DIP Loan Party but subsequently returned to the selling vendor or its agent, shall not be counted as
           inventory that was received by the DIP Loan Party for purposes of calculating the “cost of merchandise
           received by the DIP Loan Parties” hereunder. In addition, nothing herein shall impair or affect the right of
           any DIP Loan Party to contest any invoice to the extent it is inconsistent with any applicable agreement
           with a selling vendor, subject to any party’s claims, rights or defenses thereto.
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                   Claims Oversight Representative (as defined below), the Creditors’ Committee

                   and the DIP Secured Parties, and shall be without prejudice to the rights of any

                   other party-in-interest to object to the reconciled amount of the Merchandise

                   Reserve.       Within three (3) Business Days’ after the completion of such

                   reconciliation of size of the Merchandise Reserve, the Debtors shall file a

                   statement on the public Court docket in these cases disclosing the reconciled

                   amount of the Merchandise Reserve. The Merchandise Reserve shall be funded

                   only after the later of (x) the payment in cash in full of all Obligations (as defined

                   in the ABL/FILO DIP Credit Agreement) 7 and (y) on the schedule set forth in the

                   Wind Down Budget for payment of claims for merchandise received on or after

                   March 5, 2018. 8 All parties’ rights and claims regarding an allocation of the

                   Merchandise Reserve, including the right to assert that (i) all or a portion of the

                   Merchandise Reserve should be allocated to payment of goods received from and

                   after March 5, 2018, and (ii) all or a portion of the Merchandise Reserve should

                   be allocated ratably among all holders of unpaid chapter 11 administrative




 7
           For the avoidance of doubt, indemnity rights of the ABL/FILO DIP Secured Parties shall survive the
           payment in full of the ABL/FILO DIP Obligations, with the lien and claim priority granted under the Final
           DIP Order and recourse to all property of the DIP Loan Parties’ estates including the Merchandise Reserve.
           In the event that the ABL/FILO Secured Parties obtain payment from the Merchandise Reserve, the
           obligation of the US Borrower to maintain the Merchandise Reserve in the agreed amount shall continue
           and the Merchandise Reserve shall be replenished, including from the Collateral securing the Term DIP
           Obligations and/or the Prepetition Term Loan Credit Facility, consistent with this Order.
 8
           For the avoidance of doubt, the timing of funding the Merchandise Reserve shall not impact the obligation
           to fund the Merchandise Reserve nor shall it impact the inclusion of the Merchandise Reserve in the Term
           Loan Wind-Down Carve Out. Nor shall the obligation to fund the Merchandise Reserve in accordance with
           this Order be affected by a subsequent Event of Default or other limitations imposed by the Wind Down
           Budget.
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                    expense claims or otherwise, shall be expressly reserved and any distributions

                    from the Merchandise Reserve are subject to further order of the Court. 9

               d. The Merchandise Reserve shall be funded only from the Collateral securing the

                    Term DIP Obligations and/or the Prepetition Term Loan Credit Facility. Upon

                    entry of this Order, and in accordance with Paragraph 21 hereof, the ABL Wind-

                    Down Carve Out and the Term Loan Wind-Down Carve Out, including the

                    Debtors’ obligation to fund the Merchandise Reserve (and the DIP Lenders’ and

                    Prepetition Secured Parties’ consent to such funding), solely pursuant to clauses

                    (a)-(c) above shall remain binding regardless of any subsequent events, including

                    the appointment of a trustee, the conversion of these cases to cases under Chapter

                    7 of the Bankruptcy Code, or dismissal of these cases. Additionally,

                    notwithstanding any conversion of these cases to cases under Chapter 7 of the

                    Bankruptcy Code or any dismissal of these cases, any funds held in the

                    Merchandise Reserve shall be preserved and, subject to footnote 7 of this Order

                    and any amounts payable to a liquidating trustee or its professionals on account of

                    the disbursement or administration of the Merchandise Reserve, shall be used

                    exclusively for the purpose of making distributions to the holders of unpaid

                    chapter 11 administrative expense claims in accordance with the order of the

                    Court governing such distributions.




 9
           In connection with any claims or causes of action, all rights are reserved with respect to whether any legal
           or factual significance should be attached to the use of the March 5, 2018 date in this Order in connection
           with the funding of the Merchandise Reserve. Without limiting the foregoing, all rights are reserved to
           argue that the use of the March 5, 2018 date should not give rise to any inference that there may not be
           claims or causes of action arising out of acts or omissions that occurred prior to March 5, 2018 or as to the
           absence of damages relating to the period prior to March 5, 2018.
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               e. Promptly upon receipt of the ABL/FILO EOD Notice and/or the Term Loan EOD

                  Notice, the Borrowers shall provide notice of such default to all known providers

                  of goods and services, including, without limitation, to the creditors who have

                  been approved to provide such goods and services by Authorized Approvers.

                  Upon the occurrence of an Event of Default under either the ABL/FILO DIP

                  Facility or the Term DIP Facility, the ABL/FILO DIP Lenders or the Term DIP

                  Lenders, as applicable, shall promptly file a copy of the ABL/FILO EOD Notice

                  and/or the Term Loan EOD Notice, as applicable, on the Court’s docket and serve

                  a copy of such notice upon: (i) counsel to the Debtors, (ii) counsel to the

                  Creditors’ Committee, (iii) the U.S. Trustee, and (iv) all parties who have

                  requested notice in the Chapter 11 Cases pursuant to Bankruptcy Rule 2002.

               f. Upon the delivery of an ABL/FILO EOD Notice and/or a Term Loan EOD

                  Notice, during the five business day period after delivery thereof (the “ENVE Cap

                  Notice Period”) the DIP Secured Parties shall negotiate in good faith with the

                  Debtors and the Creditors’ Committee regarding the manner in which they intend

                  to exercise their rights and remedies under the DIP Documents and the Final DIP

                  Order, including with respect to the funding of ongoing Employee and New Value

                  Expenses; provided that nothing herein shall obligate any party to fund, whether

                  from the proceeds of its collateral or otherwise, or subordinate its liens or claims

                  to, Employee and New Value Expenses incurred on or after the expiration of the

                  ENVE Cap Notice Period.




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                 g. To the extent there is any dispute regarding the occurrence of an Event of Default

                    or the notice of such Event of Default, the Bankruptcy Court shall hear such

                    dispute on an expedited basis.

                 h. For the avoidance of doubt, administrative expense claims that are not Employee

                    and New Value Expenses expressly described in the foregoing clauses (a) and (b),

                    including any administrative expenses incurred outside of the applicable date

                    ranges in the foregoing clauses (a) and (b), are not affected by this section and are

                    not granted superpriority status hereunder.

           13.      Reservation of Rights. Nothing in this Order shall prohibit any party-in-interest

 (including the Creditors’ Committee) from (i) continuing any investigation into or the pursuit of

 claims against any party-in-interest, including without limitation any claims identified in the

 Creditors’ Committee’s motion seeking discovery pursuant to Bankruptcy Rule 2004 [Docket

 No. 1162] or (ii) seeking information from the Debtors, the ABL/FILO DIP Lenders or the Term

 DIP Lenders – through formal or informal discovery, including pursuant to Bankruptcy Rule

 2004 – relating to the Wind-Down Motion, the Motion and the Waivers and the decision to

 pursue the Wind-Down Motion, the Motion and the Waivers, and/or pursuing any claims related

 thereto. Nothing in this Order shall impair, prohibit, waive, release or restrain any claim, cause

 of action, objection, defense, right or remedy available to any party-in-interest (including the

 Creditors’ Committee), including to assert that amounts incurred by the DIP Loan Parties prior to

 March 5, 2018 should be subject to payment pursuant to section 506(c) and/or 552 of the

 Bankruptcy Code as and to the extent provided in the Final DIP Order, or other applicable

 remedy at law, including, without limitation, allegations of claims for unjust enrichment,

 constructive trust, or other legal or equitable remedies or claims against the North American DIP


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 Lenders or the DIP Secured Parties. Nothing in this Order shall impair, affect or limit any

 defenses, objections or positions of the DIP Secured Parties or other parties in interest relating to

 such matters including, without limitation, their rights under the DIP Documents and the Final

 DIP Order. The DIP Loan Parties acknowledge that the ABL/FILO DIP Secured Parties have

 asserted their rights to indemnification under Section 9.03(b) of the ABL/FILO DIP Credit

 Agreement relating to any such actual or prospective claims, litigations, investigations or

 proceedings and the DIP Loan Parties and the Term DIP Secured Parties acknowledge and agree

 that the Discharge of ABL Secured Obligations (as defined in the DIP ICA) shall not occur until

 any such indemnification obligations have been paid in full in cash. The ABL/DIP FILO

 Secured Parties hereby expressly reserve all of their rights under the ABL/FILO DIP Documents,

 including without limitation indemnity rights and the right to seek the funding of a reserve for

 indemnification in connection with any actual or prospective claims, litigation, investigation or

 proceeding by any party against any ABL/FILO DIP Secured Parties, and the fact that such

 litigation reserve is not included in the Wind-Down Budget at this time should not be construed

 as a waiver of any such rights. For the avoidance of doubt, nothing in the Interim Orders or this

 Order will impair the rights or ability of any party-in-interest to pursue any claims or causes of

 action otherwise available to such party. The reservation of rights provided for herein shall

 expressly survive termination (including as a result of repayment of all obligations) of the

 ABL/FILO DIP Facility and/or the Term DIP Facility.

           14.    Application of Proceeds of Collateral. The proceeds from the sale or liquidation

 of DIP Collateral will be used to repay the outstanding amount of the North American DIP

 Facilities, provided, however, that, for the avoidance of doubt: (i) section 13(d) of the Final DIP

 Order will continue in full force and effect, and further to the foregoing, with respect to the


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 repayment of Term DIP Obligations (x) in the first instance, the proceeds from the sale of

 Collateral securing the ABL/FILO DIP Obligations on a senior basis to the Term DIP

 Obligations (“ABL/FILO DIP Priority Collateral”) will be used (subject to satisfaction of the

 ABL/FILO DIP Obligations as required by the ABL/FILO DIP Documents and this Order) to

 repay the Term DIP Obligations and fund all wind-down costs associated with the liquidation of

 DIP Collateral, and (y) proceeds from the sale of assets unencumbered as of the Petition Date

 that do not constitute ABL/FILO DIP Priority Collateral shall be segregated pending application

 thereof and only be used to repay the Term DIP Obligations (and, for the avoidance of doubt,

 subject to the DIP Documents, the ABL/FILO DIP Obligations to the extent not satisfied from

 ABL/FILO DIP Priority Collateral) (1) to the extent the proceeds from the sale of the ABL/FILO

 DIP Priority Collateral (after application thereof to the ABL/FILO DIP Obligations and to wind-

 down costs) are insufficient to repay such Term DIP Obligations (or ABL/FILO DIP

 Obligations, as applicable), or (2) with the consent of the Creditors’ Committee or by further

 order of the Court; (ii) entry of this Order and approval of the Wind-Down Budget shall not

 prejudice or impair the rights of any party-in-interest to bring claims or seek remedies against the

 North American DIP Lenders; and (iii) following the repayment-in-full of the North American

 DIP Facilities, the proceeds of the sale or liquidation of any assets of the Debtors shall not be

 used to repay any Prepetition Secured Obligations absent further order of the Court.

           15.    Claims Administration. As soon as practicable after entry of this Order, an

 individual from FTI Consulting, Inc., financial advisor to the Committee, shall be identified and

 appointed as claims oversight representative (the “Claims Oversight Representative”) to assist

 the Debtors in overseeing the reconciliation of unpaid administrative expense claims and

 interfacing with creditors and vendors on the status of such reconciliation.


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           16.    Liquidation Expense Budget Reforecast: On or before May 4, 2018, the Debtors, in

 good faith, and with the consent of Creditors’ Committee (not to be unreasonably withheld) and the

 North American DIP Lenders (not to be unreasonably withheld), and in consultation with the

 Consultants, will reforecast the costs of the GOB Sales, and such agreed cost reductions shall be

 incorporated into the Wind Down Budget and become binding on the Debtors; provided that any

 modifications to the costs components of the Wind-Down Budget related to the Consultants’ fees and

 expense reimbursement entitlements may only be made with the consent of the Consultants.

           17.    Interim Compensation and Appointment of Fee Examiner.           Notwithstanding

 anything to the contrary in the Wind-Down Order, upon entry of this Order the Debtors shall be

 authorized to make payments to professionals, subject to the Final DIP Order (as amended

 herein), in accordance with the Order (I) Establishing Procedures for Interim Compensation and

 Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief [Dkt.

 No. 746]. As soon as reasonably practicable after the entry of this Order, the U.S. Trustee shall

 seek the appointment of a fee examiner to review the fees and expenses requested by certain

 professionals retained by the estates, on terms reasonably acceptable to the Debtors and the

 Committee.

           18.    Canadian ABL/FILO Borrower. The Debtors are hereby authorized to seek relief

 in the Canadian Court, to the extent required, to enter into the ABL/FILO Waiver, to make,

 execute, and deliver all instruments and documents, and to perform all acts in connection

 therewith that may be reasonably required for performance of their obligations under the

 ABL/FILO Waiver.

           19.    Information Rights. The Debtors shall provide the Creditors’ Committee with the

 same access and all information supplied to the DIP Agents, the DIP Lenders, and the Prepetition

 Secured Parties whether under this Order, the Final DIP Order, the DIP Documents (including
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 the ABL/FILO Waiver and the Term DIP Waiver), the Prepetition Secured Debt Documents, or

 otherwise. At the reasonable request of the Creditors’ Committee, the Debtors shall provide the

 Committee (and simultaneously the DIP Secured Parties) with information, and make a

 representative with appropriate subject matter knowledge available, on the following topics: (i)

 the Wind-Down Budget, including weekly budget to actual results and variance explanations,

 explanations regarding subsequent amended budgets and a detail buildup of receipts (including

 liquidation receipts, sales of assets, fixtures, and equipment) and escrowed amounts, (ii) on a

 weekly basis, a summary of actual expenses by category with a comparison to the Wind-Down

 Budget; (iii) data sufficient for the Creditors’ Committee professionals to assess unpaid

 administrative claims (including, without limitation, merchandise receipts from prior to March 5,

 2018 and any other unpaid administrative expenses claims for goods or services provided prior to

 March 5, 2018); (iv) summaries of the information set forth the foregoing clause (iii) that can be

 provided to members of the Creditors’ Committee; (v) ongoing reporting of administrative claim

 balances and payments, (vi) weekly reporting regarding the reconciliation of amounts owed to

 merchandise vendors for goods delivered on or after March 5, 2018; (vii) information with

 respect to the methodology to be implemented by the Debtors to ensure all receipts of inventory

 are reasonably accounted for; (viii) weekly reporting and calls with the Creditors’ Committee

 professionals regarding the status of the sales process for any assets of the DIP Loan Parties,

 including updates regarding interested parties, indications of interest, and the status of due

 diligence; and (ix) any other information reasonably requested by the Creditors’ Committee or its

 professionals. The Debtors shall consult with the Creditors’ Committee and its professionals to

 share certain of the reporting set forth in this paragraph 19 with the Debtors’ creditors on a




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 public basis, as reasonably requested by the Debtors’ creditors or the Creditors’ Committee and

 its professionals.

           20.    Effect on Cash Management Order. For the avoidance of doubt, neither this

 Order, nor the Wind-Down Budget and the wind-down of the Debtors’ domestic business shall

 impair or affect the rights and obligations of any party pursuant to the Final Order (I)

 Authorizing the Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor

 Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D)

 Perform Intercompany Transactions, and (II) Granting Related Relief [Docket No. 704] (the

 “Cash Management Order”). Without limiting the foregoing, the Debtors (subject, in the case of

 the Canadian ABL/FILO Borrower, to the consent of the CCAA Monitor or order of the

 Canadian Court) are authorized and directed to settle any and all intercompany accounts

 (including without limitation with respect to services, royalties and expense allocations on or

 after the Petition Date) as among the Debtors and as among the Debtors and their non-Debtor

 affiliates in accordance with the terms of the Cash Management System as defined and described

 in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)

 Continue to Operate their Cash Management System, (B) Honor Certain Prepetition Obligations

 Related Thereto, (C) Maintain Existing Business Forms, and (D) Perform Intercompany

 Transactions, and (II) Granting Related Relief [Docket No. 22] and as provided for in the Cash

 Management Order and subject to the terms of section 25 thereof.

           21.    Binding Effect; Successors and Assigns. The ABL/FILO Waiver, the Term DIP

 Waiver and the provisions of this Order, including all findings herein, shall be binding upon all

 parties in interest in these Chapter 11 Cases, including, without limitation, the DIP Agents, the

 DIP Lenders, the Creditors’ Committee, any non-statutory committees appointed or formed in


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 these Chapter 11 Cases, the Debtors and their respective successors and assigns (including any

 chapter 7 or chapter 11 trustee hereinafter appointed or elected for the estate of any of the

 Debtors, an examiner appointed pursuant to section 1104 of the Bankruptcy Code, or any other

 fiduciary appointed as a legal representative of any of the Debtors or with respect to the property

 of the estate of any of the Debtors) and shall inure to the benefit of the DIP Agents, the DIP

 Lenders, and the Debtors and their respective successors and assigns; provided that the DIP

 Agents and the DIP Lenders shall have no obligation to extend any financing to any chapter 7

 trustee, chapter 11 trustee or similar responsible person appointed for the estates of the Debtors.

           22.    Effectiveness. This Order shall constitute findings of fact and conclusions of law

 and shall take effect and be fully enforceable nunc pro tunc to the Petition Date immediately

 upon entry hereof. Notwithstanding Bankruptcy Rules 4001 (a)(3), 6004(h), 6006(d), 7062, or

 9014, or any Local Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this

 Order shall be immediately effective and enforceable upon its entry and there shall be no stay of

 execution or effectiveness of this Order.

           23.    Headings. Section headings used herein are for convenience only and are not to

 affect the construction of or to be taken into consideration in interpreting this Order.

           24.    Interim Orders. Except as specifically amended, supplemented or otherwise

 modified hereby, all of the provisions of the Interim Orders shall remain in effect and are hereby

 ratified by this Order.

           25.    Final Order Governs. In the event of any inconsistency between the provisions of

 this Order and the Interim Orders, the provisions of this Order shall govern.

           26.    Retention of Jurisdiction.   The Court shall retain jurisdiction to implement,

 interpret and enforce the provisions of this Order, and this retention of jurisdiction shall survive


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 the confirmation and consummation of any chapter 11 plan for any one or more of the Debtors

 notwithstanding the terms or provisions of any such chapter 11 plan or any order confirming any

 such chapter 11 plan.


     Apr 25 2018
 Dated:                , 2018.
        Richmond, Virginia

                                            /s/ Keith L. Phillips
                                            THE HONORABLE JUDGE KEITH L. PHILLIPS
                                            UNITED STATES BANKRUPTCY JUDGE



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 WE ASK FOR THIS:

 /s/ Jeremy S. Williams

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 Co-Counsel to the Debtors and Debtors in Possession


                                    CERTIFICATION OF ENDORSEMENT
                                 UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

         Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed order has been
 endorsed by or served upon all necessary parties.

                                                        /s/ Jeremy S. Williams




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                                    Exhibit 1

                                ABL/FILO Waiver




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   SECOND AMENDED AND RESTATED WAIVER, CONSENT AND AMENDMENT
                          AGREEMENT

         THIS SECOND AMENDED AND RESTATED WAIVER, CONSENT AND
 AMENDMENT AGREEMENT, dated as of April [•], 2018 (this “Agreement”) is entered into
 by and among Toys “R” Us-Delaware, Inc., as a debtor and debtor-in-possession under chapter
 11 of the Bankruptcy Code (the “Lead Borrower”), Toys “R” Us (Canada) Ltd. Toys “R” Us
 (Canada) Ltee, as a debtor and debtor-in-possession under chapter 11 of the Bankruptcy Code
 and applicant under the CCAA (the “Canadian Borrower”), the Facility Guarantors under the
 DIP ABL/FILO Credit Agreement (as defined below), JPMorgan Chase Bank, N.A. as
 administrative agent (the “Administrative Agent”), JPMorgan Chase Bank, N.A., Toronto
 Branch, as Canadian administrative agent (the “Canadian Agent”), JPMorgan Chase Bank, N.A.
 and Wells Fargo Bank, National Association as co-collateral agents (the “Co-Collateral
 Agents”) and the lenders under the DIP ABL/FILO Credit Agreement party hereto, which
 lenders constitute the “Required Lenders” as defined in the DIP ABL/FILO Credit Agreement
 (such Lenders, the “Consenting Lenders”).

                                           RECITALS:

         WHEREAS, reference is made to that certain Superpriority Secured Debtor-in-
 Possession Credit Agreement dated as of September 22, 2017, by and among the Lead Borrower,
 the other Domestic Borrowers from time to time party thereto, the Canadian Borrower, the
 Facility Guarantors from time to time party thereto, the Administrative Agent, the Canadian
 Agent, the Co-Collateral Agents and the lenders from time to time party thereto (as amended by
 Amendment No. 1 thereto dated as of October 12, 2017 and as otherwise supplemented, restated
 or otherwise modified from time to time prior to the date hereof, the “DIP ABL/FILO Credit
 Agreement”; capitalized terms used and not otherwise defined herein have the meanings
 assigned to them in the DIP ABL/FILO Credit Agreement);

         WHEREAS, the Domestic Loan Parties (i) have obtained from the Bankruptcy Court
 authority to close additional Stores and conduct bulk sales of inventory in connection therewith,
 pursuant to the order entered March 22, 2018 [Docket No. 2344] granting the Store Liquidation
 Motion (as defined in that certain Limited and Temporary Forbearance, dated as of March 14,
 2018 (the “Forbearance”), among the Loan Parties and the lenders party thereto, which would
 have given rise to an Event of Default pursuant to Section 7.01(bb) of the DIP ABL/FILO Credit
 Agreement, (ii) have determined to suspend the operation of the Domestic Loan Parties’ business
 in the ordinary course, liquidate all or substantially all of the Loan Parties’ assets and Store
 locations, and employ an agent or other third party to conduct store closing, store liquidation and
 “Going-Out-Of-Business” sales for substantially all of the Domestic Loan Parties’ Stores, which
 would give rise to an Event of Default pursuant to Section 7.01(j) of the DIP ABL/FILO Credit
 Agreement and (iii) have informed the Administrative Agent of the Domestic Loan Parties’
 commencement of bulk sales in connection with the closing of substantially all Stores of the
 Domestic Loan Parties, which sales would give rise to an Event of Default pursuant to Section
 7.01(d) of the DIP ABL/FILO Credit Agreement resulting from the failure to observe the
 covenant set forth in Section 6.05 of the DIP ABL/FILO Credit Agreement (the Events of
 Default and potential Events of Defaults described in the foregoing clauses and any potential
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 Default or Event of Default arising out of the inaccuracy of any representation that may have
 resulted therefrom, the “Specified Events of Default”);

         WHEREAS, the Domestic Loan Parties have the intention to wind-down their operations
 in the United States and to liquidate substantially all of their inventory in the United States (the
 “Domestic Wind-Down”), consistent with the weekly budget delivered to the Administrative
 Agent and attached hereto as Exhibit A (the “Domestic Wind-Down Budget”; provided, the
 Domestic Wind-Down Budget or (if applicable) the Canadian Wind-Down Budget shall be
 reduced by the Loan Parties as provided in Section 3(k) below (but not increased) to the extent
 the Loan Parties amend, modify or terminate contractual arrangements, including lease
 obligations, to provide for disbursements that are less than those contemplated by the existing
 Domestic Wind-Down Budget, the Canadian Going Concern Budget or (if applicable) the
 Canadian Wind-Down Budget) and pursuant to liquidation agreements attached hereto as
 Exhibit B;

          WHEREAS, the Loan Parties have informed the Administrative Agent that they intend
 to sell or otherwise dispose of all of the Capital Stock of the Canadian Borrower or all or
 substantially all of the assets of the Canadian Borrower on a going concern basis (the “TRU
 Canada Sale”), which sale or other disposition would give rise to an Event of Default pursuant
 to Section 7.01(d) of the DIP ABL/FILO Credit Agreement resulting from the failure to observe
 the covenant set forth in Section 6.05 of the DIP ABL/FILO Credit Agreement;

        WHEREAS, the Canadian Borrower intends to continue going concern business
 operations at all of the Stores of the Canadian Borrower consistent with the terms of the budget
 attached hereto as Exhibit C (the “Canadian Going Concern Budget”) while it pursues the
 TRU Canada Sale;

         WHEREAS, the Loan Parties acknowledge and agree that upon the occurrence and
 during the continuance of an Event of Default, the Administrative Agent, the Canadian Agent
 and the Co-Collateral Agents are authorized to and shall at the direction of the Required Lenders
 proceed to protect and enforce certain rights and remedies under the DIP ABL/FILO Credit
 Agreement and the other Loan Documents, subject in all respects to (i) the Remedies Notice
 Period (as defined in the Final Order) and (ii) solely to the extent required in the Canadian Case,
 leave of the Canadian Court;

        WHEREAS, the Loan Parties have requested that the Lenders waive the Specified
 Events of Default, amend certain provisions of the DIP ABL/FILO Credit Agreement and
 provide certain consents in connection with the TRU Canada Sale and (if applicable) the
 Canadian Wind-Down;

          WHEREAS, the Loan Parties, the Administrative Agent, the Canadian Agent, the Co-
 Collateral Agents and certain Lenders constituting the Required Lenders have previously entered
 into (i) that certain Waiver, Consent and Amendment Agreement, dated as of March 20, 2018
 (the “Original Waiver, Consent and Amendment”) and (ii) that certain Amended and Restated
 Waiver, Consent and Amendment Agreement which amended and restated the Original Waiver,

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 Consent and Amendment, dated as of March 28, 2018 (the “Existing Waiver, Consent and
 Amendment”), in each case to accommodate such requests of the Loan Parties on the terms and
 subject to the conditions set forth therein and herein; and

        WHEREAS, the Loan Parties, the Administrative Agent, the Canadian Agent, the Co-
 Collateral Agents and the Consenting Lenders parties hereto have agreed to amend and restate
 the Existing Waiver, Consent and Amendment as set forth herein;

         NOW, THEREFORE, in consideration of the foregoing, the covenants and conditions
 contained herein and other good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, the Parties agree to amend and restate the Existing Waiver, Consent
 and Amendment in its entirety as follows:

        1.      Incorporation of Recitals.

                 Each of the Loan Parties acknowledges that the recitals set forth above are true
 and correct in all respects.

        2.      Limited Waiver; Consent.

                (a)    In reliance upon the representations, warranties and covenants of the Loan
 Parties contained in this Agreement, and upon the terms and subject to the conditions of this
 Agreement, the Consenting Lenders hereby, effective as of the Waiver Effective Date, waive
 each of the Specified Events of Default (the “Waiver”). Except as expressly set forth in this
 Agreement, no terms, covenants or other provisions of the DIP ABL/FILO Credit Agreement or
 any other Loan Document are intended pursuant to any provision of this Agreement to (or shall)
 be affected by any provision of this Agreement, all of which remain in full force and effect
 unaffected by any provision of this Agreement.

                (b)   The Waiver is limited to the extent specifically set forth herein and
 nothing contained herein is intended, or shall be deemed or construed, (i) to constitute a waiver
 of any Defaults or Events of Default or compliance with any term or provision of the Loan
 Documents (as amended hereby), in each case other than the Specified Events of Default, (ii) to
 constitute a waiver of any Defaults or Events of Default that may exist under the Original
 Waiver, Consent and Amendment or the Existing Waiver, Consent and Amendment, or (iii) to
 establish a custom or course of dealing between the Loan Parties, on the one hand, and the
 Administrative Agent, the Canadian Agent, the Co-Collateral Agents and/or any Lender, on the
 other hand.

                 (c)    The Consenting Lenders hereby, effective as of the Waiver Effective Date,
 consent (i) to the TRU Canada Sale and (ii) to the entry of (and to the filing of any motion by the
 Loan Parties seeking) any order of the Bankruptcy Court or the Canadian Court permitting the
 TRU Canada Sale, and agree that no Default of Event of Default shall result from the foregoing
 (including pursuant to Section 7.01(w), (x), (bb) and (cc) of the DIP ABL/FILO Credit
 Agreement), so long as, in each case, the TRU Canada Sale is a Qualifying TRU Canada Sale. A
 “Qualifying TRU Canada Sale” shall mean a TRU Canada Sale that is made pursuant to an

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 Approved TRU Canada Purchase Agreement (as defined below) (including the performance of
 any transition services by the Domestic Loan Parties as contemplated thereby) and
 notwithstanding any other provision of this Agreement (including, for greater certainty, any
 provision of the Domestic Wind-Down Budget) prior to or upon consummation thereof (and as a
 condition to the consummation thereof) (i) the Canadian Commitments shall have been
 terminated, all Canadian Liabilities and Other Liabilities of the Canadian Borrower shall have
 been indefeasibly and irrevocably paid and satisfied in full in cash (other than contingent
 indemnity obligations with respect to then unasserted claims), all Canadian Letters of Credit
 shall have expired or terminated (or been collateralized in a manner satisfactory to the Issuing
 Banks), all Canadian Letter of Credit Outstandings have been reduced to zero (or been
 collateralized in a manner satisfactory to the Issuing Banks) (and the Consenting Lenders hereby
 consent to the making of the foregoing payments and terminations) and the Canadian Borrower
 shall have indefeasibly and irrevocably paid in full in cash to the Domestic Borrower all amounts
 owed under subrogation claims in respect of the cash collateralization by the Domestic Borrower
 of Canadian Letter of Credit Outstandings and (ii) a final order of the Bankruptcy Court and/or
 the Canadian Court, as applicable, satisfactory to the Administrative Agent and the Canadian
 Agent shall have been entered that ratifies such termination, payment and satisfaction or the
 Required Lenders shall otherwise be satisfied that such indefeasible and irrevocable termination,
 payment and satisfaction has occurred. The date on which the conditions set forth in clauses (i)
 and (ii) of the immediately preceding sentence are satisfied or waived is referred to as the
 “Canadian Facility Termination Date”.

                 (d)     The Administrative Agent, the Canadian Agent and the Co-Collateral
 Agent are hereby authorized, (i) upon the consummation of the Qualifying TRU Canada Sale and
 the occurrence of the Canadian Facility Termination Date and consistent and pursuant to the
 provisions set forth in Section 8.18 of the DIP ABL/FILO Credit Agreement, to release the
 Canadian Borrower from all of its obligations and liabilities under the Loan Documents (other
 than such obligations and liabilities which by their terms expressly survive the termination of the
 Loan Documents) and release all Liens granted by the Canadian Borrower and (if such
 Qualifying TRU Canada Sale is in the form of a disposition of the Capital Stock of the Canadian
 Borrower) the Capital Stock of the Canadian Borrower as security therefor and (ii) upon the
 Canadian Facility Termination Date, (x) to deliver evidence of the release of such Liens granted
 by the Canadian Borrower and (if a Qualifying TRU Canada Sale is in the form of a disposition
 of the Capital Stock of the Canadian Borrower has been consummated) Liens on the Capital
 Stock of the Canadian Borrower and (y) consent to the granting of Liens to any third party lender
 (including on a “priming” basis) over the assets and property of the Canadian Loan Parties and
 (if a Qualifying TRU Canada Sale in the form of a disposition of the Capital Stock of the
 Canadian Borrower has been consummated) the Capital Stock of the Canadian Borrower to the
 extent requested.

        3.     Additional Covenants. From and after the Waiver Effective Date (as defined
 below), the Loan Parties shall comply with the following covenants:

               (a)     The Domestic Loan Parties shall (i) on Thursday of each week (beginning
 with the week starting on April 1, 2018) provide to the Administrative Agent a weekly report for
 the previous week in a form acceptable to the Administrative Agent summarizing the status of
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 the Domestic Wind-Down, which report shall include (x) an inventory balance of the Domestic
 Loan Parties, (y) a variance comparison of actual results, disbursements and proceeds to the
 results, disbursements and proceeds set forth in the Domestic Wind-Down Budget on a line item
 basis, and the timing of the delivery of the Domestic Loan Parties’ portion of proceeds and a
 reconciliation with the liquidators’ portion of such proceeds and (z) an explanation for any
 variance between the Domestic Wind-Down Budget and actual results that is not immaterial and
 a summary status report of the implementation of the Domestic Wind-Down Budget, (ii) on
 Thursday of each second week (beginning with the week starting on April 1, 2018), provide to
 the Administrative Agent a bi-weekly report, with allocations on an estate-by-estate and loan-by-
 loan basis, of all paid and estimated accrued professional fees and expenses, (iii) on Thursday of
 each week (beginning with the week starting on April 1, 2018) provide to the Administrative
 Agent an updated schedule of store and distribution center closings during the previous week,
 (iv) provide access to the Administrative Agent, the Canadian Agent, the Co-Collateral Agents
 and their respective advisors and representatives to financial records and properties of the Loan
 Parties relating to the Domestic Wind-Down and provide all information as may be requested by
 the Administrative Agent, the Canadian Agent, the Co-Collateral Agents and their respective
 advisors and representatives in connection with the status of the Domestic Wind-Down (other
 than such information that is subject to attorney-client privilege or could result in a breach of a
 confidentiality obligation or applicable law or otherwise constitutes attorney work product)
 promptly after request therefor, (v) on Thursday of each week (beginning with the week starting
 on April 1, 2018), provide to the Administrative Agent with an updated inventory report for the
 last day of the previous week in such form as has been agreed prior to the Waiver Effective Date
 or otherwise satisfactory to the Administrative Agent and (vi) prepay the Loans and collateralize
 the Letters of Credit in accordance with the Domestic Wind-Down Budget (subject in all respects
 to the Wind-Down Orders (as defined below)).

                 (b)    Prior to the delivery of the Canadian Wind-Down Notice (as defined
 below), the Canadian Borrower shall (i) on Thursday of each week (beginning with the week
 starting on April 1, 2018) provide to the Administrative Agent and the Canadian Agent a weekly
 report for the previous week in a form acceptable to the Administrative Agent and the Canadian
 Agent summarizing the status of the Sale Process (as defined below), which report shall include
 (x) a comparison of actual results, disbursements and proceeds to the results, disbursements and
 proceeds set forth in the Canadian Going Concern Budget on a line item basis and (y) an
 explanation for any variance between the Canadian Going Concern Budget and actual results that
 is not immaterial and (ii) provide access to the Administrative Agent, the Canadian Agent, the
 Co-Collateral Agents and their respective advisors and representatives to financial records
 relating to the Sale Process and properties of the Canadian Borrower and provide all information
 as may be requested by the Administrative Agent, the Canadian Agent, the Co-Collateral Agents
 and their respective advisors and representatives in connection with the Sale Process promptly
 after request therefor, including for greater certainty copies of teaser letters, letters of intent,
 written expressions of interest, bid letters and draft purchase agreements promptly after request
 therefor (other than such information that is subject to attorney-client privilege or could result in
 a breach of a confidentiality obligation or applicable law or otherwise constitutes attorney work
 product).


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                 (c)     Following the delivery of the Canadian Wind-Down Notice, the Canadian
 Borrower shall (i) on Thursday of each week (beginning with the week starting after the
 Canadian Wind-Down Notice has been delivered) provide to the Administrative Agent and the
 Canadian Agent a weekly report for the previous week in a form acceptable to the
 Administrative Agent and the Canadian Agent summarizing the status of the Canadian Wind-
 Down, which report shall contain (w) an inventory balance of the Canadian Borrower, (x) a
 comparison of actual results, disbursements and proceeds to the results, disbursements and
 proceeds set forth in the Canadian Wind-Down Budget on a line item basis, and the timing of the
 delivery of the Canadian Loan Parties’ portion of proceeds and a reconciliation with the
 liquidators’ portion of such proceeds and (y) an explanation for any variance between the
 Canadian Wind-Down Budget and actual results that is not immaterial, (ii) on Thursday of each
 week (beginning with the week starting after the Canadian Wind-Down Notice has been
 delivered) provide to the Administrative Agent and the Canadian Agent an updated schedule of
 store and distribution center closings during the previous week, (iii) provide access to the
 Administrative Agent, the Canadian Agent, the Co-Collateral Agents and their respective
 advisors and representatives to financial records relating to the Canadian Wind-Down and
 properties of the Canadian Borrower and provide all information as may be requested by the
 Administrative Agent, the Canadian Agent, the Co-Collateral Agents and their respective
 advisors and representatives in connection with the status of the Canadian Wind-Down promptly
 after request therefor (other than such information that is subject to attorney-client privilege or
 could result in a breach of a confidentiality obligation or applicable law or otherwise constitutes
 attorney work product), (iv) prepay the Canadian Loans and cash collateralize the Canadian
 Letters of Credit in accordance with the Canadian Wind-Down Budget (subject in all respects to
 the Wind-Down Orders) and (v) on Thursday of each week (beginning with the week starting
 after the Canadian Wind-Down Notice has been delivered), provide to the Administrative Agent
 with an updated inventory report for the last day of the previous week in such form as has been
 agreed prior to the Waiver Effective Date or otherwise satisfactory to the Administrative Agent.

                 (d)     The Loan Parties shall not use proceeds of the ABL Collateral, directly or
 indirectly, to pay any interest, principal, fees, expenses, or other obligations owed with respect to
 the DIP Term Loan Facility or any Existing Debt until the Commitments have expired or been
 terminated, the principal of, and interest on, each Loan and all fees and other Obligations (other
 than contingent indemnity obligations with respect to then unasserted claims) shall have been
 indefeasibly and irrevocably paid and satisfied in full in cash, all Letters of Credit shall have
 expired or terminated (or been Cash Collateralized in a manner satisfactory to the Issuing Bank
 and all Letter of Credit Outstandings have been reduced to zero (or Cash Collateralized in a
 manner satisfactory to the Issuing Bank). The Loan Parties shall cause all proceeds of Term
 Collateral (as defined in the Intercreditor Agreement) to be held in a separate account pending
 application thereof consistent with the Intercreditor Agreement and the other Loan Documents.

                (e)    No Domestic Loan Party shall make any Investment in any Canadian Loan
 Party (or any Subsidiary of a Canadian Loan Party) and no Canadian Loan Party shall make any
 Investment in any Domestic Loan Party, in each case, except Investments to cash collateralize
 the Canadian Letter of Credit Outstandings as contemplated in Section 6(c) of this Agreement
 and Investments in the form of services provided in the ordinary course of business consistent

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 with past practice (and reimbursed in the ordinary course of business consistent with past
 practice) to the extent consistent with the Domestic Wind-Down Budget.

                (f)    The Canadian Borrower and/or the Lead Borrower, as applicable, shall
 achieve the following milestones in connection with the TRU Canada Sale by the prescribed
 dates (the “Sale Milestones”) (in each case unless the Canadian Facility Termination Date shall
 have occurred):

                      (i)   Not later than April 30, 2018, the Bankruptcy Court and, if required
              in the Canadian Case, the Canadian Court shall have entered an order, in form and
              substance satisfactory to the Administrative Agent and the Canadian Agent
              approving a sale process with respect to the TRU Canada Sale and/or ratifying and
              affirming a sale process with respect to the TRU Canada Sale (the “Sale
              Process”);

                      (ii)    Not later than April 30, 2018, the Canadian Borrower shall have
              entered into an asset purchase agreement or the Lead Borrower shall have entered
              into a stock purchase agreement with respect to the Capital Stock of the Canadian
              Borrower, as applicable, in form and substance satisfactory to the Required
              Lenders, the Administrative Agent and the Canadian Agent, for the TRU Canada
              Sale, which agreement provides for a closing no later than May 31, 2018 and
              provides for indefeasible and irrevocable payment and satisfaction in full in cash at
              closing of all Canadian Liabilities and Other Liabilities of the Canadian Borrower
              outstanding at the time of such closing (other than contingent indemnity
              obligations with respect to then unasserted claims), the indefeasible and
              irrevocable payment in full in cash to the Domestic Borrower of all amounts owed
              under subrogation claims in respect of the cash collateralization of Canadian Letter
              of Credit Outstandings by the Domestic Borrower and the collateralization of any
              obligations in respect of Letters of Credit in a manner satisfactory to the Issuing
              Bank (any such agreement an “Approved TRU Canada Purchase Agreement”);
              provided, that neither the Administrative Agent, the Canadian Agent nor any
              Lender shall be deemed to waive any objection to the TRU Canada Sale on any
              terms;

                      (iii) Not later than May 15, 2018, the Bankruptcy Court and the
              Canadian Court shall have issued and entered an order approving the Approved
              TRU Canada Purchase Agreement or otherwise facilitating or permitting the TRU
              Canada Sale (each a “Sale Approval Order”) in form and substance satisfactory
              to the Administrative Agent and the Canadian Agent; the Sale Approval Order
              entered by the Canadian Court (and the US Court, if applicable) shall also
              authorize and direct the Canadian Borrower, or the Monitor on its behalf, to pay to
              the Administrative Agent or the Canadian Agent, as applicable, an amount
              sufficient to satisfy the then outstanding Canadian Liabilities and Other Liabilities
              of the Canadian Borrower (other than contingent indemnity obligations with
              respect to then unasserted claims) on the closing of the TRU Canada Sale; and


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                       (iv)   Not later than May 31, 2018 (the “Anticipated Sale Closing
               Date”), the Qualifying TRU Canada Sale shall have closed and the Canadian
               Facility Termination Date shall have occurred; provided that the Debtors may
               extend the Anticipated Sale Closing Date to July 15, 2018 so long as, as of May
               31, 2018, (w) all Revolving Credit Loans shall have been indefeasibly and
               irrevocably paid and satisfied in full in cash, all Letters of Credit have been
               collateralized in a manner that is satisfactory to the Issuing Bank and all
               Commitments shall have been terminated, (x) the aggregate outstanding principal
               amount of Term Loans shall not exceed $100,000,000, (y) the cash balance of the
               Loan Parties shall be at least $36,200,000 and (z) the Loan Parties shall have paid
               to the Administrative Agent, for the ratable benefit of the Term Lenders, a fee in
               the amount of $5,000,000 (which such extension payment shall be due and payable
               in dollars on May 31, 2018 and once paid, shall not be refundable or revocable);

         provided that if the Lead Borrower or Canadian Borrower fails to meet any of the Sale
 Milestones, such failure shall not constitute a breach of this Section 3(f) if either (A)(x) the
 Canadian Borrower, within 5 Business Days of the failure to meet the applicable Sale Milestone,
 delivers a written notice to the Administrative Agent and the Canadian Agent of its intent to
 commence a liquidation of its inventory (the “Canadian Wind-Down Notice”), (y) within 5
 Business Days after the delivery of the Canadian Wind-Down Notice, delivers to the Canadian
 Agent and the Administrative Agent, in each case in form and substance satisfactory to the
 Canadian Agent and the Administrative Agent (I) a budget setting forth, in reasonable detail, a
 plan to liquidate substantially all of the Canadian Borrower’s inventory (the “Canadian Wind-
 Down Budget”) (which Canadian Wind-Down Budget shall also be in form and substance
 satisfactory to the Required Lenders) and (II) liquidation agreements reasonably satisfactory to
 the Canadian Agent pursuant to which such liquidation will occur, and (z) within 5 Business
 Days after the delivery of a Canadian Wind-Down Notice, seeks an order from the Canadian
 Court and the Bankruptcy Court (if required) (the “Canadian Wind-Down Orders”) in form
 and substance satisfactory to the Canadian Agent and the Administrative Agent authorizing and
 directing it to conduct the liquidation of its inventory in accordance with the foregoing clause
 (the actions described in clauses (x), (y) and (z) and such liquidation, collectively, the
 “Canadian Wind-Down”) or (B) the Required Lenders (in their sole discretion) instruct the
 Canadian Borrower not to commence a liquidation (which instruction may be revoked at any
 time thereafter, in which case the preceding clause (A) shall apply).

                (g)    At all times following the delivery of the Canadian Wind-Down Notice,
 the Canadian Borrower shall (i) pursue the liquidation of the Canadian Borrower’s inventory in a
 manner that is consistent with the Canadian Wind-Down Budget and the Canadian Wind-Down
 Orders in all material respects and (ii) comply with the additional reporting requirements
 described in Section 3(c) of this Agreement.

                 (h)    The Loan Parties shall, promptly following the delivery of any written
 notice, reports or other written information to the administrative agent or the lenders under the
 DIP Term Loan Facility or the receipt of any written notice from the administrative agent or the
 lenders under the DIP Term Loan Facility, deliver a copy of such notice, report or other written
 information to the Administrative Agent.
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                 (i)     The Domestic Loan Parties shall (i) commence liquidation sales at all
 remaining Stores in the United States by no later than March 27, 2018, (ii) complete liquidation
 sales at all remaining Stores in the United States by no later than June 30, 2018 (provided, that
 liquidation sales may continue at a reasonable number of Stores so long as such sales are
 completed no later than July 15, 2018), and (iii) reject all third-party leases and all leases with
 Propco I and Propco II by no later than June 30, 2018; provided that, prior to the Domestic
 Facility Termination Date (as defined below), any such leases that the Domestic Borrowers
 determines in good faith, after consultation with the lenders under the DIP ABL/FILO Credit
 Agreement, the lenders under the DIP Term Loan Credit Agreement and the Unsecured Creditors
 Committee, are capable of assignment for value may be assumed and assigned; provided, further,
 that no collateral of the Secured Parties shall be used to pay rent on or otherwise maintain any
 property following completion of a going-out-of-business sale at such property.

                 (j)    The Loan Parties shall give the Canadian Agent and the Administrative
 Agent prior notice of and a reasonable opportunity to review any motions to be filed with, and
 orders to be sought from, the Bankruptcy Court or the Canadian Court, as applicable, with
 respect to the Domestic Wind-Down, the Sale Process or, if applicable, the Canadian Wind-
 Down and all such motions and orders shall be in form and substance reasonably satisfactory to
 the Required Lenders (except in exigent circumstances in which case reasonably practicable
 notice (as early as possible under the circumstances) to the Administrative Agent will be given).

                (k)    The Loan Parties shall not amend, modify, revise, update or change in any
 respect any of the Domestic Wind Down Budget, the Canadian Going Concern Budget or the
 Canadian Wind Down Budget, unless (i) any such amendment, modification, revision, update or
 change shall have been provided to the Administrative Agent, the Canadian Agent, their
 respective advisors and representatives and the Specified Legal Advisor with a reasonable
 opportunity to review and (ii) the Required Lenders (acting in their sole discretion) shall have
 consented to any such amendment, modification, revision, update or change. The applicable
 portions of the Domestic Wind-Down Budget or (if applicable) the Canadian Wind-Down
 Budget shall be automatically reduced (but not increased) to the extent the Loan Parties amend,
 modify or terminate any Master Lease or any Material Contract to provide for disbursements that
 are less than those contemplated by the existing Domestic Wind-Down Budget. “Material
 Contract” shall mean any contract providing for annual disbursements by the Loan Parties of
 greater than $2,500,000.

         All reports, access rights, notices and information required to be delivered or provided to
 the Administrative Agent, the Canadian Agent and/or their respective advisors and
 representatives pursuant to this Section 3 shall also be delivered or provided by the Loan Parties
 to the Specified Legal Advisor (as defined below) promptly following delivery or provision to
 the Administrative Agent, the Canadian Agent and/or their respective advisors and
 representatives.

        4.      Additional Events of Default. From and after the Waiver Effective Date (and
 without in any way limiting the provision of Article VII of the DIP ABL/FILO Credit
 Agreement), it shall constitute an immediate Event of Default under the DIP ABL/FILO Credit


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 Agreement if any of the following shall occur (as though the following had been fully set forth in
 the DIP ABL/FILO Credit Agreement):

                (a)     the Loan Parties shall fail to comply (x) in any material respect with any
 of the undertakings (other than with respect to Sections 3(f) and 3(i)) set forth in this Agreement
 or (y) in any respect with any of the undertakings set forth in Sections 3(f) and 3(i) and, in the
 case of the undertakings set forth in Sections 3(a)(iv), 3(b)(ii), 3(c)(iii), and 3(h), such failure
 shall continue for a period of 2 days after (i) in the case of any failure to comply with any
 undertaking set forth in Sections 3(a)(iv), 3(b)(ii) or 3(c)(iii), receipt of written notice from the
 Administrative Agent and (ii) in the case of the undertaking set forth in section 3(h), knowledge
 of the applicable Loan Party of such failure;

                 (b)    the Loan Parties shall (x) in the case of the Domestic Loan Parties, cease
 to proceed with the Domestic Wind-Down, in the manner set forth in and consistent in all
 material respects with the Domestic Wind-Down Budget, (y) make any payment (other than any
 payment (which in the case of the Domestic Loan Parties and, after the delivery of the Canadian
 Wind-Down Notice, the Canadian Borrower, shall only be to facilitate an orderly wind-down)
 that is, considered alone or together with all other payments not consistent with the Domestic
 Wind-Down Budget, the Canadian Going Concern Budget or, if applicable, the Canadian Wind-
 Down Budget, immaterial) that is not consistent with the Domestic Wind-Down Budget, the
 Canadian Going Concern Budget or, if applicable, the Canadian Wind-Down Budget or (z) make
 any payments to any individual legal or financial advisor of the Debtors (including advisors to
 their various independent directors) or the Unsecured Creditors Committee that, as of any date of
 determination, exceed on a cumulative basis from March 1, 2018 the amounts provided therefor
 in the Domestic Wind-Down Budget, the Canadian Going Concern Budget or, if applicable, the
 Canadian Wind-Down Budget;

                 (c)    with respect to any fiscal month (commencing with March 2018), the
 aggregate principal amount of Domestic Revolving Credit Loans, Domestic Term Loans and
 Canadian Term Loans prepaid and Letters of Credit cash collateralized during such fiscal month
 (including, for the avoidance of doubt, for any part of any such month prior to the Waiver
 Effective Date) shall be less than the prepayment/cash collateralization amount set forth for such
 fiscal month on Schedule I hereto (the “Prepayment Requirement”) (it being understood that, for
 the avoidance of doubt, (i) the Domestic Borrower shall repay Domestic Revolving Credit Loans
 and cash collateralize any Letter of Credit Outstandings that have not been cash collateralized in
 an amount equal to 103% of such Letter of Credit Outstandings prior to making any prepayments
 or repayments of Term Loans (which in the case of the cash collateralization with respect to
 Canadian Letter of Credit Outstandings shall result in a subrogated claim pursuant to Section
 10.07 of the DIP ABL/FILO Credit Agreement), it being understood that the cash
 collateralization of any Letter of Credit Outstandings from the proceeds of Revolving Credit
 Loans made pursuant to Section 6(c) below shall not reduce the prepayment/cash
 collateralization amounts set forth on Schedule I, and (ii) if the aggregate principal amount of
 Domestic Revolving Credit Loans, Domestic Letter of Credit Outstandings, Domestic Term
 Loans or Canadian Term Loans, as applicable, prepaid or cash collateralized during such fiscal
 month is greater than the prepayment/cash collateralization amount set forth for such fiscal
 month on Schedule I hereto, then such additional amounts shall be applied to the succeeding
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 months as determined by the Lead Borrower); provided that, solely with respect to the Term
 Loans, the Prepayment Requirement shall be deemed to be satisfied for (i) any prepayments
 required to be made during the fiscal month of April 2018 if such payment is made no later than
 14 days after the last day of the fiscal month of April 2018 and (ii) any prepayments required to
 be made during the fiscal month of May 2018 if such payment is made no later than 7 days after
 the last day of the fiscal month of May 2018;

                 (d)    (i) at any time, the net cash flow before debt of the Domestic Loan Parties
 for any Test Period shall be less than as set forth on Schedule II for such Test Period, (ii) on the
 last day of any week, the cash balance of the Canadian Borrower shall be less than projected by
 the Canadian Going Concern Budget or, beginning with the first full week starting on the Sunday
 after the delivery of the Canadian Wind-Down Budget, the Canadian Wind-Down Budget, by
 more than $7,000,000, (iii) at any time, the cash balance of the Canadian Borrower shall be
 lower than $5,000,000 or (iv) the Loan Parties shall disburse any amounts to legal or financial
 advisors of the Debtors (including advisors to their various independent directors) or the
 Unsecured Creditors Committee in violation of Section 24 of the Final Order. For purposes of
 this Section 4(d), “Test Period” shall mean, as of any date, (i) beginning with the last day of the
 week ending on March 31, 2018, the two-week period ending on March 31, 2018, (ii) beginning
 with the last day of the week ending on April 7, 2018, the three-week period ending on April 7,
 2018, and (iii) on and after the last day of any week thereafter, the period beginning on March 18,
 2018 and ending on the last day of the week ended most recently on or prior to such date;

                (e)     the Loan Parties shall (x) unless a Canadian Wind-Down Notice has been
 delivered, cease to pursue the Qualifying TRU Canada Sale, in a manner consistent in all
 material respects with the Sale Milestones and otherwise in compliance in all material respects
 with the Canadian Going Concern Budget, (y) following delivery of a Canadian Wind-Down
 Notice, cease to proceed with the Canadian Wind-Down, in the manner set forth in and
 consistent in all material respects with the Canadian Wind-Down Budget or (z) make any
 payment (other than any payment (which, after the delivery of the Canadian Wind-Down Notice,
 shall only be to facilitate an orderly wind-down) that is, considered alone or together with all
 other payments not consistent with the Canadian Going Concern Budget (or if applicable the
 Canadian Wind-Down Budget), immaterial) that is not consistent with the Canadian Going
 Concern Budget or (if applicable) the Canadian Wind-Down Budget;

                (f)     any Loan Party shall make any adequate protection payments in respect of
 interest on any Existing Debt;

                 (g)    the Domestic Facility Termination Date shall not have occurred on or
 prior to June 9, 2018;

                (h)      the Canadian Facility Termination Date shall not have occurred on or prior
 to June 30, 2018 (or, if the Canadian Wind-Down Notice has been delivered, July 31, 2018);

                (i)    on or prior to April 25, 2018, the Bankruptcy Court shall not have entered
 a final order, in form and substance consistent with the Interim Domestic Waiver Approval
 Order, the Extended Interim Domestic Waiver Approval Order, the Second Extended Interim

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 Domestic Waiver Approval Order and the Third Extended Interim Domestic Waiver Approval
 Order (each as defined below), with modifications thereto to reflect the final nature thereof, and
 any other modifications thereto satisfactory to the Administrative Agent and the Required
 Lenders, authorizing the Loan Parties to enter into this Agreement and to perform the obligations
 hereunder, which final order shall not have been vacated or reversed, shall not be subject to any
 stay, and shall not have been modified or amended in any manner without the consent of the
 Administrative Agent and the Required Lenders (the “Final Domestic Waiver Approval
 Order”) and the date of the satisfaction of the condition in this paragraph (i), (the “Final
 Domestic Waiver Approval Order Date”);

                (j)     on or prior to April 30, 2018, the Canadian Court shall not have entered an
 order, in form and substance satisfactory to the Canadian Agent and the Administrative Agent,
 authorizing the Canadian Borrower to enter into this Agreement and to perform the obligations
 hereunder, which order shall not have been vacated or reversed, shall not be subject to any stay,
 and shall not have been modified or amended in any manner without the consent of the Canadian
 Agent (the “Canadian Waiver Approval Order”, and, together with the Final Domestic Waiver
 Approval Order, the Interim Domestic Waiver Approval Order, the Extended Interim Domestic
 Waiver Approval Order, the Second Extended Interim Domestic Waiver Approval Order and the
 Third Extended Interim Domestic Waiver Approval Order, the “Waiver Approval Orders” and
 collectively with the Sale Approval Order, the Orders attached to the Store Liquidation Motion
 and the Canadian Wind-Down Orders, the “Wind-Down Orders”);

                (k)    any of the Waiver Approval Orders shall have been stayed, reversed,
 vacated, rescinded or modified in any material respect without the prior written consent of the
 Required Lenders;

                (l)     on or prior to April 16, 2018, the Loan Parties shall not have obtained
 consent to extend the deadline to assume or reject (x) the master lease with Propco II, and (y)
 those third-party leases which are necessary to the liquidation process, in each case, through and
 including a date no earlier than June 30, 2018;

                (m)     (i) on or prior to April 16, 2018, the Loan Parties shall not have obtained
 consent to extend the deadline to assume or reject the master lease with Propco I through and
 including a date no earlier than April 30, 2018 (the “Initial PropCo I Extension Date”), and (ii)
 on or prior to the Initial PropCo I Extension Date, the Loan Parties shall not have obtained
 further consent to extend the deadline to assume or reject the master lease with Propco I through
 and including a date no earlier than June 30, 2018;

         The “Domestic Facility Termination Date” means the date on which the Domestic
 Commitments have been irrevocably terminated, the Domestic Borrowers shall have indefeasibly
 and irrevocably paid and satisfied in full in cash all Obligations (other than Canadian Liabilities
 and contingent indemnity obligations with respect to then unasserted claims), the Domestic
 Borrowers shall have indefeasibly and irrevocably paid and satisfied in full in cash the Other
 Liabilities then due and payable (other than Canadian Liabilities), all Domestic Letters of Credit
 shall have expired or terminated (or been collateralized in a manner satisfactory to the Issuing


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 Banks) and all Domestic Letter of Credit Outstandings have been reduced to zero (or been
 collateralized in a manner satisfactory to the Issuing Banks).

         5.      Termination of Swingline Facility. Effective as of the Waiver Effective Date, the
 parties hereto agree that (i) the Domestic Swingline Loan Ceiling shall be equal to $0 and (ii) the
 Canadian Swingline Loan Ceiling shall be equal to $0.

        6.      Treatment of Loans, Commitments and Letters of Credit.

                 (a)   With effect as of the Waiver Effective Date, and notwithstanding the
 waivers and consents in this Agreement, (i) all Revolving Credit Loans shall be automatically
 converted into Prime Rate Loans bearing interest, effective from March 15, 2018, at the Prime
 Rate plus 3.50% and all Revolving Credit Loans shall continue as Prime Rate Loans bearing
 interest at the Prime Rate plus 3.50% at all times thereafter, (ii) all Term Loans shall be
 automatically converted into Prime Rate Loans bearing interest, effective from March 15, 2018,
 at the Prime Rate plus 7.75% and all Term Loans shall continue as Prime Rate Loans bearing
 interest at the Prime Rate plus 7.75% at all times thereafter, and (iii) all Letter of Credit Fees
 shall be increased by an amount equal to 2% per annum. The Lead Borrower shall reimburse
 each Domestic Lender and the Canadian Borrower shall reimburse each Canadian Lender for any
 Breakage Costs resulting from such conversion calculated consistent with Section 2.16(b) of the
 DIP ABL/FILO Credit Agreement.

                (b)     Notwithstanding anything to the contrary in Sections 2.08 and 2.19 of the
 DIP ABL/FILO Credit Agreement, interest on Loans, Unused Canadian Fees and Letter of
 Credit Fees shall be payable on the last Business Day of each calendar month.

                 (c)     Notwithstanding anything to the contrary in Section 2.04 of the DIP
 ABL/FILO Credit Agreement, effective as of the Final Domestic Waiver Approval Order Date,
 (i) the Lead Borrower shall submit a notice of Borrowing for Prime Rate Loans in an amount
 equal to 103% of the amount of all Domestic Letter of Credit Outstandings as of such date that
 have not been cash collateralized, the proceeds of which shall be used to cash collateralize the
 Domestic Letter of Credit Outstandings as of such date and (ii) the Lead Borrower shall submit a
 notice of Borrowing for Prime Rate Loans in an amount equal to the U.S. Dollar equivalent of
 103% of the amount of the Canadian Letter of Credit Outstandings as of such date that have not
 been cash collateralized, the proceeds of which shall be converted immediately into Canadian
 Dollars and shall be used to cash collateralize the Canadian Letter of Credit Outstandings as of
 such date (which cash collateralization shall result in a subrogated claim pursuant to Section
 10.07 of the DIP ABL/FILO Credit Agreement). The Consenting Lenders hereby waive the
 conditions set forth in Section 4.02 of the DIP ABL/FILO Credit Agreement with respect to such
 Borrowings, and the applicable Lenders with Commitments shall fund such Borrowing in
 accordance with the terms of the DIP ABL/FILO Credit Agreement; provided that the proceeds
 of such Revolving Credit Loans shall be applied to cash collateralize the Domestic Letter of
 Credit Outstandings and Canadian Letter of Credit Outstandings, as applicable. If prior to the
 Domestic Facility Termination Date or the Canadian Facility Termination Date, as applicable,
 any Letter of Credit expires undrawn or the principal amount of any Letter of Credit is reduced,
 any cash collateral held in respect of the expired or reduced amount shall be applied by the
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 Administrative Agent or the Canadian Agent, as applicable, promptly following the date of such
 expiration or reduction, as applicable, to the payment of principal and accrued interest
 outstanding under the Domestic Revolving Credit Loans (which, in the event cash collateral held
 in respect of the Canadian Letter of Credit Outstandings is used for such payment, shall reduce
 the amount of the subrogation claims provided in Section 6(c)), and, thereafter, to the payment of
 principal and accrued interest outstanding under the Domestic Term Loans, and thereafter, to the
 payment of principal and accrued interest outstanding under the Canadian Revolving Credit
 Loans, and, thereafter, to the payment of principal and accrued interest outstanding under the
 Canadian Term Loans, and thereafter to the repayment of all other Obligations that are then due
 and payable.

                  (d)    Immediately following the funding of the Revolving Credit Loans
 described in the preceding clause (c), the Domestic Commitments shall be permanently reduced
 to an amount equal to (x) the Total Domestic Revolver Outstandings as of such date (after giving
 effect to Borrowing of Revolving Credit Loans made pursuant to Sections 6(c)(i) and 6(c)(ii) to
 cash collateralize the Domestic Letter of Credit Outstandings and the Canadian Letter of Credit
 Outstandings) plus (y) $40,623,829.60, which reduction shall be applied ratably to the Domestic
 Commitment of each Lender and from and after the Final Domestic Waiver Approval Order
 Date, no Lender shall have any commitment to make any Credit Extension to the Lead Borrower.
 In addition, the Domestic Commitments shall automatically and without the requirement of any
 notice be permanently reduced by the amount of (i) any principal repayment of Domestic
 Revolving Credit Loans made on or after the Final Domestic Waiver Approval Order Date, (ii)
 any reduction in the Domestic Letter of Credit Outstandings or the Canadian Letter of Credit
 Outstandings upon a drawing or payment under a Letter of Credit or the expiration or
 termination thereof, in each case made on or after the Final Domestic Waiver Approval Order
 Date, (iii) any reduction of the Canadian Letter of Credit Outstandings during the period from the
 Amendment and Restatement Date to the Waiver Effective Date and (iv) any reduction of the
 amount of the Canadian Commitments made on or after the Waiver Effective Date.

                (e)     With effect as of the Waiver Effective Date, the Canadian Commitments
 shall hereby be permanently reduced to an amount equal to (x) $40,623,829.60, less (y) the
 amount of any reduction of the Canadian Letter of Credit Outstandings during the period from
 the Amendment and Restatement Date (as defined below) to the Waiver Effective Date, which
 reduction shall be applied ratably to the Canadian Commitment of each Lender.

         7.     Amendments to DIP ABL/FILO Credit Agreement. With effect as of the Waiver
 Effective Date, the DIP ABL/FILO Credit Agreement is amended as follows:

                (a) The definition of “Permitted Encumbrances” shall be amended by deleting the
        “and” at the end of paragraph (gg) thereof, replacing the “.” at the end of paragraph (hh)
        thereof with “; and” and by adding the following new paragraph (ii):

                       “(ii) following (or substantially contemporaneously with) the Canadian
        Facility Termination Date (as defined in the Second Amended and Restated Waiver,
        Consent and Amendment Agreement hereto, dated as of April [ ], 2018), any Liens on


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       property of any Canadian Loan Party to secure any Post-Termination Canadian
       Indebtedness.”

               (b) The definition of “Permitted Indebtedness” shall be amended by deleting the
       “and” at the end of paragraph (aa) thereof, replacing the “.” at the end of paragraph (bb)
       thereof with “; and” and by adding the following new paragraph (cc):

                       “(cc) following (or substantially contemporaneously with) the Canadian
       Facility Termination Date, any additional Indebtedness of the Canadian Borrower;
       provided, that such Indebtedness shall not be guaranteed by any Domestic Loan Party or
       secured by any property of any Domestic Loan Party (the “Post-Termination Canadian
       Indebtedness”).”

               (c) The definition of “Specified Indebtedness” shall be amended by deleting
       clause (ii) therein in its entirety.

               (d) The definition of “Substantial Liquidation” shall be amended by adding
       “(other than, following the Canadian Facility Termination Date the Collateral of the
       Canadian Borrower or the Capital Stock of the Canadian Borrower)” immediately after
       “by the Loan Parties”.

              (e) Section 4.02 of the DIP ABL/FILO Credit Agreement shall be amended by
       adding the following paragraph (l) after the existing paragraph (k) thereof:

                       “(l) The Required Lenders, acting in their sole discretion, shall have
       consented to the making of such Revolving Credit Loan or issuance or extension of Letter
       of Credit, as applicable (provided that the Required Lenders have consented to the
       making of the Revolving Credit Loans to be made pursuant to Section 6 of the Second
       Amended and Restated Waiver, Consent and Amendment Agreement hereto, dated as of
       April [ ], 2018, to be used to cash collateralize the Domestic Letter of Credit
       Outstandings and the Canadian Letter of Credit Outstandings).”

               (f) Section 4.02 of the DIP ABL/FILO Credit Agreement shall be amended by
       deleting the last two sentences of the last paragraph thereof.

                (g) Section 5.01(a) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                      “(a) [reserved],”.

                (h) Section 5.01(b) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                      “(b) [reserved],”.


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                (i) Section 5.01(c) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(c) [reserved],”.

                (j) Section 5.01(d) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(d) [reserved],”.


                (k) Section 5.01(f) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(f) [reserved],”.

               (l) Section 5.01(i) of the DIP ABL/FILO Credit Agreement shall be replaced in its
       entirety with the following:


                     “(i) [reserved],”.

                (m) Section 5.01(k) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(k) [reserved],”

                (n) Section 5.01(l) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(l) [reserved],”.

                (o) Section 5.01(m) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(m) [reserved],”.

                (p) Section 5.02(d) of the DIP ABL/FILO Credit Agreement shall be replaced in
       its entirety with the following:

                     “(d) [reserved],”.

               (q) Section 5.16 of the DIP ABL/FILO Credit Agreement shall be replaced in its
       entirety with the following:


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                      “Section 5.16 [Reserved],”.

              (r) Section 5.19(b) and (c) of the DIP ABL/FILO Credit Agreement shall be
       replaced in their entirety with the following:

                      “a weekly call (at a time to be mutually agreed) with the Administrative
       Agent and its advisors and the law firm acting as counsel to the holders of a majority of
       the Term Loans that has been previously identified to the Lead Borrower and the
       Administrative Agent (the “Specified Legal Advisor”) to discuss the status of the
       implementation of the Domestic Wind-Down Budget (as defined in the Second Amended
       and Restated Waiver, Consent and Amendment Agreement hereto, dated as of April [ ],
       2018) and related going out of business sales, which will include a discussion of the
       maximization of value of inventory and any other assets with respect to any going out of
       business sales and the efforts to effectuate the TRU Canada Sale (as defined in the
       Second Amended and Restated Waiver, Consent and Amendment Agreement hereto,
       dated as of April [ ], 2018) or the status of the implementation of the Canadian Wind-
       Down Budget (as defined in the Second Amended and Restated Waiver, Consent and
       Amendment Agreement hereto, dated as of April [ ], 2018), as applicable”.

               (s) Section 6.09(x) of the DIP ABL/FILO Credit Agreement shall be amended by
       replacing the words “to have an adverse effect” with the words “to have a material
       adverse effect (other than any such amendments made to effect the terms of the Second
       Amended and Restated Waiver, Consent and Amendment Agreement hereto, dated as of
       April [ ], 2018)”.

              (t) Section 6.09(y) of the DIP ABL/FILO Credit Agreement shall be amended by
       adding “(in each case, other than any such amendments to the DIP Term Loan Facility
       made on or prior to March 20, 2018)” immediately prior to “.” at the end of such section.

               (u) Section 6.10 of the DIP ABL/FILO Credit Agreement shall be replaced in its
       entirety with the following:

                      “SECTION 6.10 [Reserved]”.

               (v) Section 6.15 of the DIP ABL/FILO Credit Agreement shall be replaced in its
       entirety with the following:

                      “SECTION 6.15 [Reserved]”.

              (w) Sections 7.01(x) of the DIP ABL/FILO Credit Agreement shall be amended
       by adding “(in each case, other than any Liens or claims on the assets or properties of the
       Canadian Borrower or (if a Qualifying TRU Canada Sale in the form of a disposition of
       the Capital Stock of the Canadian Borrower has been consummated) the Stock of the
       Canadian Borrower after the Canadian Facility Termination Date (as defined in the


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        Second Amended and Restated Waiver, Consent and Amendment Agreement hereto,
        dated as of April [ ], 2018)” immediately prior to “;” at the end of each such clause.

                (x) Section 7.01(r)(vii), Section 7.01(u), Section 7.01(w), Section 7.01(x) and
        Section 7.01(bb) of the DIP ABL/FILO Credit Agreement shall each be amended by
        adding, immediately prior to “;” at the end of each such clause, “; provided, however, that
        after the Canadian Facility Termination Date (as defined in the Second Amended and
        Restated Waiver, Consent and Amendment Agreement hereto, dated as of April [ ], 2018)
        no Event of Default under this clause shall occur solely with respect to the Canadian
        Borrower”.

              (y) Article VI shall be amended by replacing “(provided that the Canadian
        Borrower covenants only for itself and its Subsidiaries)” with the following:

                        “(provided that the Canadian Borrower covenants only for itself and its
        Subsidiaries and, after the Canadian Facility Termination Date (as defined in the Second
        Amended and Restated Waiver, Consent and Amendment Agreement hereto, dated as of
        April [ ], 2018), such covenants shall not be deemed to apply to the Canadian Borrower
        and its Subsidiaries)”

                (z) Section 9.18 shall be amended by adding “and, after the Canadian Facility
        Termination Date (as defined in the Second Amended and Restated Waiver, Consent and
        Amendment Agreement hereto, dated as of April [ ], 2018), (w) the Canadian Borrower
        shall have no liability whatsoever under the Loan Documents (including, pursuant to
        Section 2.26), (x) no representations and warranties under Article III hereof or under any
        other Loan Documents shall apply to the Canadian Borrower, (y) no covenants under
        Article V or Article VI hereof or under any other Loan Documents shall apply to the
        Canadian Borrower and (z) the Canadian Borrower shall be excluded from any
        determination as to whether a Default or Event of Default has occurred” immediately
        prior to “.” at the end of such section.

        8.      Representations and Warranties. Each Loan Party party hereto represents and
 warrants to the Agents and the Lenders, on and as of the Waiver Effective Date, that:

               (a)      Each Loan Party has all requisite organizational power and authority to
        perform all its obligations under the DIP ABL/FILO Credit Agreement and to execute
        and deliver and perform all its obligations under this Agreement.

                (b)     The transactions contemplated by this Agreement and by the DIP
        ABL/FILO Credit Agreement are within such Loan Party’s corporate powers and have
        been duly authorized by all necessary corporate, membership, partnership or other
        necessary action. Subject to the entry of the Waiver Approval Orders and the terms
        thereof, this Agreement has been duly executed and delivered by each Loan Party that is
        a party hereto or thereto and constitutes, and when executed and delivered by such Loan
        Party, this Agreement and the DIP ABL/FILO Credit Agreement will constitute, a legal,

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       valid and binding obligation of such Loan Party, enforceable in accordance with its terms
       subject to the terms of the Orders and the Waiver Approval Orders.

              (c)   The transactions to be entered into and contemplated by this Agreement
       and the DIP ABL/FILO Credit Agreement will not violate the Charter Documents of any
       Loan Party.

               (d)     On and as of the Waiver Effective Date, no Default or Event of Default
       (other than the Specified Events of Default) has occurred and is continuing or will result
       from the entry by the Loan Parties into this Agreement.

       9.     Conditions to Effectiveness.

               (a) Subject to paragraphs (b), (c) and (d) below, this Agreement shall become
       effective (the date of such effectiveness being referred to herein as the “Waiver Effective
       Date”) upon satisfaction or waiver of each of the following conditions:

               (i)     execution and delivery of this Agreement by the Administrative Agent, the
       Canadian Agent, the Co-Collateral Agents, Lenders constituting the Required Lenders
       under the DIP ABL/FILO Credit Agreement and the Loan Parties and, in each case,
       delivered to the Administrative Agent; and

               (ii)    (w) the Canadian Waiver Approval Order shall have been entered by the
       Canadian Court, (x) the Final Domestic Waiver Approval Order shall have been entered
       by the Bankruptcy Court, (y) the interim order entered by the Bankruptcy Court on
       March 21, 2018 in connection with the Original Waiver, Consent and Amendment
       [Docket No. 2318] (the “Interim Domestic Waiver Approval Order”), as amended by
       the amended interim order entered by the Bankruptcy Court on March 27, 2018 [Docket
       No. 2427] (the “Extended Interim Domestic Waiver Approval Order”) and as further
       amended by the second amended interim order entered by the Bankruptcy Court on April
       13, 2018 [Docket No. 2713] (the “Second Extended Interim Domestic Waiver
       Approval Order”) and by the third amended interim order entered by the Bankruptcy
       Court on April 20, 2018 [Docket No. 2796] (the “Third Extended Interim Domestic
       Waiver Order”), shall not have been vacated or reversed, shall not be subject to any
       stay, and shall not have been modified or amended in any manner without the consent of
       the Administrative Agent and the Required Lenders, and (z) the DIP Term Waiver (as
       defined in the Debtors’ motion seeking the Domestic Waiver Approval Order) shall have
       become effective substantially in the form provided to the Lenders in connection with the
       execution of this Agreement; and

                (iii) the Loan Parties shall have indefeasibly and irrevocably paid and satisfied in
       full in cash all previously invoiced Credit Party Expenses payable pursuant to this
       Agreement or Section 9.03 of the DIP ABL/FILO Credit Agreement.



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                (b) Immediately upon the satisfaction or waiver of the conditions set forth in the
        foregoing clauses (a)(i) and (a)(iii) (the date of the satisfaction of such conditions, the
        “Amendment and Restatement Date”), (x) the date set forth in clause 2(b) of the
        Forbearance shall be automatically extended to April 30, 2018 at 11:59 pm New York
        time and (y) the Forbearance and its terms shall extend to all Specified Events of Default
        and each reference to the “Designated Defaults” in the Forbearance shall be deemed to be
        replaced with a reference to the Specified Events of Defaults (as defined in this
        Agreement); provided that the Forbearance shall terminate if a fact or circumstance
        occurs that would constitute an Event of Default under this Agreement, had the Waiver
        Effective Date occurred.

               (c) Section 6(c) and Section 6(d) of this Agreement shall become effective upon
        the Final Domestic Waiver Approval Order Date if the Amendment and Restatement
        Date has occurred prior to such date.

                 (d) For the avoidance of doubt, upon the Amendment and Restatement Date, the
        Existing Waiver, Consent and Amendment shall be amended and restated and superseded
        in its entirety by this Agreement; provided that notwithstanding the foregoing, this
        Agreement shall not act as a waiver of any default or event of default, or cure any breach
        of the terms of, the Original Waiver, Consent and Amendment or the Existing Waiver,
        Consent and Amendment that may have occurred prior to the Amendment and
        Restatement Date.

        10.    Miscellaneous.

          (a)    This Agreement and the Waiver shall be limited precisely as written and, except
 as expressly provided herein, shall not be deemed (a) to be a consent granted pursuant to, or a
 waiver or modification of, any term or condition of the DIP ABL/FILO Credit Agreement, any
 other Loan Documents or any of the instruments or agreements referred to therein or (b) other
 than as expressly stated herein, to prejudice any right or rights which the Agents or the other
 Secured Parties may now have or have in the future under or in connection with the DIP
 ABL/FILO Credit Agreement, the other Loan Documents or any of the instruments or
 agreements referred to therein including any rights from the existence or continuation of a Cash
 Dominion Event. The Loan Parties agree that their obligations set forth in Section 9.03 of the
 DIP ABL/FILO Credit Agreement shall extend to the preparation, execution and delivery of this
 Agreement and that the Credit Party Expenses payable pursuant to Section 9.03 of the DIP
 ABL/FILO Credit Agreement shall include the reasonable fees, charges and disbursements of the
 Specified Legal Advisor incurred (whether before or after the Waiver Effective Date) in
 connection with this Agreement, the DIP ABL/FILO Credit Agreement and the other Loan
 Documents. This Agreement is hereby deemed to be a Loan Document for purposes of each
 Loan Document. All terms and provisions of the Loan Documents remain in full force and
 effect, except to the extent expressly modified by this Agreement (it being understood and
 agreed that nothing contained in the Domestic Wind-Down Budget, the Canadian Going Concern
 Budget or the Canadian Wind-Down Budget, as the case may be, shall modify the obligations of
 the Loan Parties under the Loan Documents). Each of the Loan Parties acknowledges that the
 Administrative Agent, the Canadian Agent, the Co-Collateral Agents and the Consenting
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 Lenders have made no representations as to what actions, if any, they will take after the Waiver
 Effective Date, and the Administrative Agent and each Consenting Lender hereby specifically
 reserves any and all rights, remedies, and claims it has (after giving effect hereto) with respect to
 any Events of Default and other Defaults that may occur (other than the Specified Events of
 Default). The Loan Parties hereby acknowledge and agree that account number 528277937 in
 the name of the Lead Borrower and account numbers 4000013288 and 4000013289 in the name
 of the Canadian Borrower are under the sole and exclusive dominion and control of the
 Administrative Agent and the Canadian Agent (subject in all respects to the Wind-Down
 Orders).

                  (b)    For the avoidance of doubt, all payments on account of Loans and Letters
 of Credit made by the Loan Parties shall be applied in accordance with the payment waterfall
 provisions set forth in Section 7.03(a) and (b) of the DIP ABL/FILO Credit Agreement (subject
 in all respects to the Wind-Down Orders).

               (c)   Unless specifically stated otherwise herein, for purposes of this
 Agreement, a “week” shall begin on a Sunday and end on a Saturday.

               (d)    Each of the parties hereto agrees that upon the Waiver Effective Date, the
 “Forbearance Period” as defined in the Forbearance shall immediately terminate.

         11.     Remedies upon Events of Default. Upon the Administrative Agent’s delivery of
 written notice of the occurrence of an Event of Default (which written notice may be provided
 via email) to the Loan Parties, counsel to the Loan Parties, counsel to the Unsecured Creditors
 Committee and, to the extent affecting the Canadian Borrower, the Monitor, during the 5
 Business Day period after delivery thereof, the Credit Parties shall negotiate in good faith with
 the Loan Parties, the Unsecured Creditors Committee and, to the extent affecting the Canadian
 Borrower, the Monitor, the manner in which the Credit Parties intend to exercise their rights and
 remedies under the Loan Documents; provided, that this section 11 shall not be deemed a waiver
 of any rights or remedies of the Credit Parties under the Loan Documents upon an Event of
 Default, and the Credit Parties can proceed in their sole discretion following such 5 Business
 Day period if no agreement is reached with the Loan Parties, the Unsecured Creditors Committee
 and/or the Monitor.

         12.    Counterparts. This Agreement may be executed in any number of counterparts
 and by the different parties hereto in separate counterparts, each of which shall be an original and
 all of which, when taken together, shall constitute but one and the same instrument. A facsimile
 or pdf copy of a counterpart signature page shall serve as the functional equivalent of a manually
 executed copy for all purposes.

       13.  Governing Law. THIS AGREEMENT AND ALL ACTIONS ARISING UNDER
 THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
 WITH, THE LAWS OF THE STATE OF NEW YORK AND (TO THE EXTENT
 APPLICABLE) THE BANKRUPTCY CODE AND THE CCAA.

                                 [SIGNATURE PAGES FOLLOW]

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                                      Schedule I

                            Required Repayment Amounts

    Fiscal Month      Domestic Revolving     Domestic Term     Canadian Term
                       Credit Loans and         Loans              Loans
                             Cash
                      Collateralization of
                       Letters of Credit
    March 2018           $100.0 million             $0               $0
    April 2018              In full           $125.0 million         $0
    May 2018                   -              $125.0 million    $50.0 million
                                                 (in full)
    June 2018                  -                     -          $150.0 million
                                                                   (in full)
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                                   Schedule II
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                                    Exhibit 2

                                Term DIP Waiver




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   SECOND AMENDED AND RESTATED WAIVER, CONSENT AND AMENDMENT
                          AGREEMENT

         THIS SECOND AMENDED AND RESTATED WAIVER, CONSENT AND
 AMENDMENT AGREEMENT, dated as of April [Ɣ@, 2018 (this “Agreement”) is entered into
 by and among Toys “R” Us-Delaware, Inc. a Delaware corporation, as debtor and debtor-in-
 possession under chapter 11 of the Bankruptcy Code (the “Borrower”), the Guarantors party to
 the DIP Term Loan Credit Agreement (as defined below) and NexBank SSB, as administrative
 agent (together with its permitted successors and assigns in such capacity, the “Administrative
 Agent”), and NexBank SSB, as collateral agent (together with its permitted successors and
 assigns in such capacity, the “Collateral Agent”) and the lenders under the DIP Term Loan
 Credit Agreement party hereto, which lenders constitute the “Required Lenders” as defined in
 the DIP Term Loan Credit Agreement (such Lenders, the “Consenting Lenders”).

 RECITALS:

         WHEREAS, reference is made to that certain Debtor-in-Possession Credit Agreement
 dated as of September 22, 2017, by and among the Borrower, the Guarantors from time to time
 party thereto, the Administrative Agent, the Collateral Agent and the lenders from time to time
 party thereto (as amended, restated, amended and restated, supplemented otherwise modified
 from time to time prior to the date hereof, the “DIP Term Loan Credit Agreement”; capitalized
 terms used and not otherwise defined herein have the meanings assigned to them in the DIP
 Term Loan Credit Agreement);

         WHEREAS, the Loan Parties (i) have defaulted in their obligations pursuant to Section
 6.16 of the DIP Term Loan Credit Agreement as in effect prior to giving effect to this
 Agreement, (ii) have determined to suspend the operation of the Loan Parties’ business in the
 ordinary course, liquidate all or substantially all of the Loan Parties’ assets and Store locations,
 and employ an agent or other third party to conduct store closing, store liquidation and “Going-
 Out-Of-Business” sales for substantially all of the Loan Parties’ Stores, which would give rise to
 an Event of Default pursuant to Section 8.01(v) of the DIP Term Loan Credit Agreement and
 (iii) have informed the Administrative Agent of the Loan Parties’ commencement of bulk sales
 in connection with the closing of substantially all Stores of the Domestic Loan Parties, which
 sales would give rise to an Event of Default pursuant to Section 8.01(b) of the DIP Term Loan
 Credit Agreement resulting from the failure to observe the covenant set forth in Section 7.05 of
 the DIP Term Loan Credit Agreement (the Events of Default and potential Events of Defaults
 described in the foregoing clauses and any potential Default or Event of Default arising out of
 the inaccuracy of any representation that may have result therefrom, the “Specified Events of
 Default”);

        WHEREAS, the Loan Parties have the intention to wind-down their operations in the
 United States and to liquidate substantially all of their inventory in the United States (the
 “Domestic Wind-Down”), consistent with the weekly budget delivered to the Administrative
 Agent and attached hereto as Exhibit A (together with the corresponding detailed monthly
 budget delivered to Consenting Lenders in connection herewith, the “Domestic Wind-Down
 Budget”; provided, the Domestic Wind-Down Budget or (if applicable) the Canadian Wind-
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 Down Budget shall be reduced by the Loan Parties as provided in Section 3(k) below (but not
 increased) to the extent the Loan Parties amend, modify or terminate contractual arrangements,
 including lease obligations, to provide for disbursements that are less than those contemplated by
 the existing Domestic Wind-Down Budget, the Canadian Going Concern Budget or (if
 applicable) the Canadian Wind-Down Budget) and pursuant to liquidation agreements attached
 hereto as Exhibit B;

          WHEREAS, the Loan Parties have informed the Administrative Agent that they intend
 to sell or otherwise dispose of all of the Capital Stock of Toys “R” Us (Canada) Ltd. / Toys “R”
 Us (Canada) Ltee. (“TRU Canada”) or all or substantially all of the assets of TRU Canada on a
 going concern basis (the “TRU Canada Sale”), which sale or other disposition would give rise
 to an Event of Default pursuant to Section 8.01(b) of the DIP Term Loan Credit Agreement
 resulting from the failure to observe the covenant set forth in Section 7.05 of the DIP Term Loan
 Credit Agreement;

         WHEREAS, TRU Canada intends to continue going concern business operations at all
 of the Stores of TRU Canada consistent with the terms of the budget attached hereto as Exhibit C
 (the “Canadian Going Concern Budget”) while it pursues the TRU Canada Sale;

         WHEREAS, the Loan Parties acknowledge and agree that upon the occurrence and
 during the continuance of an Event of Default, the Administrative Agent and the Collateral
 Agent are authorized to and shall at the direction of the Required Lenders proceed to protect and
 enforce certain rights and remedies under the DIP Term Loan Credit Agreement and the other
 Loan Documents, subject in all respects to the Remedies Notice Period (as defined in the U.S.
 Order);

        WHEREAS, the Loan Parties, the Administrative Agent the Collateral Agent and certain
 Lenders constituting the Required Lenders have previously entered into that certain Waiver,
 Consent and Amendment Agreement, dated as of March 20, 2018 (the “Original Waiver,
 Consent and Amendment”) and (ii) that certain Amended and Restated Waiver, Consent and
 Amendment Agreement which amended and restated the Original Waiver, Consent and
 Amendment, dated as of March 28, 2018 (the “Existing Waiver, Consent and Amendment”),
 in each case to accommodate such requests of the Loan Parties on the terms and subject to the
 conditions set forth therein and herein; and

       WHEREAS, the Loan Parties, the Administrative Agent, the Collateral Agent and the
 Consenting Lenders parties hereto have agreed to amend and restate the Existing Waiver,
 Consent and Amendment as set forth herein;

        NOW, THEREFORE, in consideration of the foregoing, the covenants and conditions
 contained herein and other good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, the Parties agree to amend and restate the Existing Waiver, Consent
 and Amendment in its entirety as follows:

        1.      Incorporation of Recitals.



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                 Each of the Loan Parties acknowledges that the recitals set forth above are true
 and correct in all respects.

        2.      Limited Waiver; Consent.


                (a)    In reliance upon the representations, warranties and covenants of the Loan
 Parties contained in this Agreement, and upon the terms and subject to the conditions of this
 Agreement, the Consenting Lenders hereby, effective as of the Waiver Effective Date, waive
 each of the Specified Events of Default (the “Waiver”). Except as expressly set forth in this
 Agreement, no terms, covenants or other provisions of the DIP Term Loan Credit Agreement or
 any other Loan Document are intended pursuant to any provision of this Agreement to (or shall)
 be affected by any provision of this Agreement, all of which remain in full force and effect
 unaffected by any provision of this Agreement.

                (b)   The Waiver is limited to the extent specifically set forth herein and
 nothing contained herein is intended, or shall be deemed or construed, (i) to constitute a waiver
 of any Defaults or Events of Default or compliance with any term or provision of the Loan
 Documents (as amended hereby), in each case other than the Specified Events of Default, (ii) to
 constitute a waiver of any Defaults or Events of Default that may exist under the Original
 Waiver, Consent and Amendment or the Existing Waiver, Consent and Amendment or (iii) to
 establish a custom or course of dealing between the Loan Parties, on the one hand, and the
 Administrative Agent, the Collateral Agent and/or any Lender, on the other hand.

                 (c)    The Consenting Lenders hereby, effective as of the Waiver Effective Date,
 consent (i) to the TRU Canada Sale and (ii) to the entry of (and to the filing of any motion by the
 Loan Parties seeking) any order of the Bankruptcy Court or the Ontario Superior Court of Justice
 (Commercial List (the “Canadian Court”) permitting the TRU Canada Sale, and agree that no
 Default or Event of Default shall result from the foregoing (including pursuant to Section
 8.01(b), (m) and (q) of the DIP Term Loan Credit Agreement), so long as, in each case, the TRU
 Canada Sale is a Qualifying TRU Canada Sale. A “Qualifying TRU Canada Sale” shall mean
 a TRU Canada Sale that is made pursuant to an Approved TRU Canada Purchase Agreement (as
 defined below) (including the performance of any transition services by the Loan Parties as
 contemplated thereby) and notwithstanding any other provision of this Agreement (including, for
 greater certainty, any provision of the Domestic Wind-Down Budget) prior to or upon
 consummation thereof (and as a condition to the consummation thereof) (i) the Canadian
 Commitments (as defined in the ABL Credit Agreement) shall have been terminated, all
 Canadian Liabilities (as defined in the ABL Credit Agreement) and Other Liabilities (as defined
 in the ABL Credit Agreement) of TRU Canada shall have been indefeasibly and irrevocably paid
 and satisfied in full in cash (other than contingent indemnity obligations with respect to then
 unasserted claims), all Canadian Letters of Credit (as defined in the ABL Credit Agreement)
 shall have expired or terminated (or been collateralized in a manner reasonably satisfactory to the
 Issuing Banks (as defined in the ABL Credit Agreement)), all Letter of Credit Outstandings (as
 defined in the ABL Credit Agreement) have been reduced to zero (or been collateralized in a
 manner satisfactory to the Issuing Banks (as defined in the ABL Credit Agreement)) (and the
 Consenting Lenders hereby consent to the making of the foregoing payments and terminations)
 and TRU Canada shall have indefeasibly and irrevocably paid in full in cash to the Borrower all

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 amounts owed under subrogation claims in respect of the cash collateralization by the Borrower
 of the Canadian Letter of Credit Outstandings and (ii) a final order of the Bankruptcy Court
 and/or the Canadian Court, as applicable, satisfactory to the Administrative Agent (as defined in
 the ABL Credit Agreement) and the Canadian Agent (as defined in the ABL Credit Agreement)
 shall have been entered that ratifies such termination, payment and satisfaction or the Required
 Lenders (as defined in the ABL Credit Agreement) shall otherwise be satisfied that such
 indefeasible and irrevocable termination, payment and satisfaction has occurred. The date on
 which the conditions set forth in clauses (i) and (ii) of the immediately preceding sentence are
 satisfied or waived is referred to as the “Canadian Facility Termination Date”.

        3.     Additional Covenants. From and after the Waiver Effective Date (as defined
 below), the Loan Parties shall comply with the following covenants:

                 (a)    The Loan Parties shall (i) on Thursday of each week (beginning with the
 week starting on April 1, 2018) provide to the Administrative Agent a weekly report for the
 previous week in a form acceptable to the Administrative Agent summarizing the status of the
 Domestic Wind-Down, which report shall include (x) an inventory balance of the Loan Parties,
 (y) a variance comparison of actual results, disbursements and proceeds to the results,
 disbursements and proceeds set forth in the Domestic Wind-Down Budget on a line item basis,
 and the timing of the delivery of the Loan Parties’ portion of proceeds and a reconciliation with
 the liquidators’ portion of such proceeds and (z) an explanation for any variance between the
 Domestic Wind-Down Budget and actual results that is not immaterial and a summary status
 report of the implementation of the Domestic Wind-Down Budget, (ii) on Thursday of each
 second week (beginning with the week starting on April 1, 2018), provide to the Administrative
 Agent a bi-weekly report, with allocations on an estate-by-estate and loan-by-loan basis, of all
 paid and estimated accrued professional fees and expenses, (iii) on Thursday of each week
 (beginning with the week starting on April 1, 2018) provide to the Administrative Agent an
 updated schedule of store and distribution center closings during the previous week, (iv) provide
 access to the Administrative Agent, the Collateral Agent and their respective advisors and
 representatives to financial records and properties of the Loan Parties relating to the Domestic
 Wind-Down and provide all information as may be requested by the Administrative Agent, the
 Collateral Agent and their respective advisors and representatives in connection with the status
 of the Domestic Wind-Down (other than such information that is subject to attorney-client
 privilege or could result in a breach of a confidentiality obligation or applicable law or otherwise
 constitutes attorney work product) promptly after request therefor and (v) on Thursday of each
 week (beginning with the week starting on April 1, 2018), provide to the Administrative Agent
 with an updated inventory report for the last day of the previous week in such form as has been
 agreed prior to the Waiver Effective Date or otherwise satisfactory to the Administrative Agent.

                (b)    Prior to the delivery of the Canadian Wind-Down Notice (as defined
 below), TRU Canada shall (i) on Thursday of each week (beginning with the week starting on
 April 1, 2018) provide to the Administrative Agent a weekly report for the previous week in a
 form acceptable to the Administrative Agent summarizing the status of the Sale Process (as
 defined below), which report shall include (x) a comparison of actual results, disbursements and
 proceeds to the results, disbursements and proceeds set forth in the Canadian Going Concern
 Budget on a line item basis and (y) an explanation for any variance between the Canadian Going
 Concern Budget and actual results that is not immaterial and (ii) provide access to the
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 Administrative Agent the Collateral Agent and their respective advisors and representatives to
 financial records relating to the Sale Process and properties of TRU Canada and provide all
 information as may be requested by the Administrative Agent, the Collateral Agent and their
 respective advisors and representatives in connection with the Sale Process promptly after
 request therefor, including for greater certainty copies of teaser letters, letters of intent, written
 expressions of interest, bid letters and draft purchase agreements promptly after request therefor
 (other than such information that is subject to attorney-client privilege or could result in a breach
 of a confidentiality obligation or applicable law or otherwise constitutes attorney work product).

                  (c)    Following the delivery of the Canadian Wind-Down Notice, TRU Canada
 shall (i) on Thursday of each week (beginning with the week starting after the Canadian Wind-
 Down Notice has been delivered) provide to the Administrative Agent a weekly report for the
 previous week in a form acceptable to the Administrative Agent summarizing the status of the
 Canadian Wind-Down, which report shall contain (w) an inventory balance of TRU Canada, (x)
 a comparison of actual results, disbursements and proceeds to the results, disbursements and
 proceeds set forth in the Canadian Wind-Down Budget on a line item basis, and the timing of the
 delivery of the Canadian Loan Parties’ (as defined in the ABL Credit Agreement) portion of
 proceeds and a reconciliation with the liquidators’ portion of such proceeds and (y) an
 explanation for any variance between the Canadian Wind-Down Budget and actual results that is
 not immaterial, (ii) on Thursday of each week (beginning with the week starting after the
 Canadian Wind-Down Notice has been delivered) provide to the Administrative Agent an
 updated schedule of store and distribution center closings during the previous week, (iii) provide
 access to the Administrative Agent, the Collateral Agent and their respective advisors and
 representatives to financial records relating to the Canadian Wind-Down and properties of TRU
 Canada and provide all information as may be requested by the Administrative Agent, the
 Collateral Agent and their respective advisors and representatives in connection with the status
 of the Canadian Wind-Down promptly after request therefor (other than such information that is
 subject to attorney-client privilege or could result in a breach of a confidentiality obligation or
 applicable law or otherwise constitutes attorney work product), (iv) prepay the Canadian Loans
 (as defined in the ABL Credit Agreement) and cash collateralize the Canadian Letters of Credit
 (as defined in the ABL Credit Agreement) in accordance with the Canadian Wind-Down Budget
 (subject in all respects to the Wind-Down Orders) and (v) on Thursday of each week (beginning
 with the week starting after the Canadian Wind-Down Notice has been delivered), provide to the
 Administrative Agent with an updated inventory report for the last day of the previous week in
 such form as has been agreed prior to the Waiver Effective Date or otherwise satisfactory to the
 Administrative Agent.

                (d)     The Loan Parties shall not use proceeds of the Term Collateral (as defined
 in the Intercreditor Agreement), directly or indirectly, to pay any interest, principal, fees,
 expenses, or other obligations owed with respect to the ABL Credit Agreement.

               (e)    No Loan Party (other than TRU Canada or any of its Subsidiaries) shall
 make any Investment in TRU Canada or any of its Subsidiaries, except (i) to the extent required
 to enable TRU Canada or any of its Subsidiaries to repay or cash collateralize obligations under
 the ABL Credit Agreement as required by that certain Waiver, Consent and Amendment
 Agreement, dated as of March 20, 2018, by and among the Borrower, TRU Canada, the
 guarantors under the ABL Credit Agreement party thereto, JPMorgan Chase Bank, N.A., as
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 administrative agent, JPMorgan Chase Bank, N.A., Toronto Branch, as Canadian administrative
 agent, JPMorgan Chase Bank, N.A. and Wells Fargo Bank, National Association as co-collateral
 agents, and the lenders under the ABL Credit Agreement party thereto (and actually used for
 such purpose) and (b) the Loan Party making such Investment is fully subrogated to all rights,
 remedies, claims, priorities, Liens and other benefits available to the lenders and other secured
 parties under the ABL Credit Agreement to the extent of such Investment and (ii) Investments in
 the form of services provided in the ordinary course of business consistent with past practice
 (and reimbursed in the ordinary course of business consistent with past practice) to the extent
 consistent with the Domestic Wind-Down Budget.

               (f)     TRU Canada and/or the Borrower, as applicable, shall achieve the
 following milestones in connection with the TRU Canada Sale by the prescribed dates (the “Sale
 Milestones”):

                       (i)     Not later than April 30, 2018, the Bankruptcy Court and, if required
               in the Canadian Case, the Canadian Court shall have entered an order, in form and
               substance satisfactory to the Administrative Agent approving a sale process with
               respect to the TRU Canada Sale and/or ratifying and affirming a sale process with
               respect to the TRU Canada Sale (the “Sale Process”);

                       (ii)    Not later than April 30, 2018, TRU Canada shall have entered into
               an asset purchase agreement or the Borrower shall have entered into a stock
               purchase agreement with respect to the Capital Stock of TRU Canada, as
               applicable, in form and substance satisfactory to the Required Lenders and the
               Administrative Agent, for the TRU Canada Sale, which agreement provides for a
               closing no later than May 31, 2018 and provides for (i) indefeasible and
               irrevocable payment and satisfaction in full in cash at closing of all Canadian
               Liabilities (as defined in the ABL Credit Agreement) and Other Liabilities (as
               defined in the ABL Credit Agreement) of TRU Canada outstanding at the time of
               such closing (other than contingent indemnity obligations with respect to then
               unasserted claims), the indefeasible and irrevocable payment in full in cash to the
               Domestic Borrower of all amounts owed under subrogation claims in respect of the
               cash collateralization of Canadian Letter of Credit Outstandings by the Domestic
               Borrower and the collateralization of any obligations in respect of Letters of Credit
               (as defined in the ABL Credit Agreement) in a manner satisfactory to the Issuing
               Bank (as defined in the ABL Credit Agreement) and (ii) a gross purchase price of
               not less than the Canadian Liabilities and Other Liabilities of TRU Canada
               outstanding at the time of closing (any such agreement an “Approved TRU
               Canada Purchase Agreement”); provided, that neither the Administrative Agent
               nor any Lender shall be deemed to waive any objection to the sale of TRU Canada
               on any terms;

                      (iii) Not later than May 15, 2018, the Bankruptcy Court and the
               Canadian Court shall have issued and entered an order approving the Approved
               TRU Canada Purchase Agreement or otherwise facilitating or permitting the TRU
               Canada Sale (each a “Sale Approval Order”) in form and substance satisfactory
               to the Administrative Agent; the Sale Approval Order entered by the Canadian

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               Court (and the US Court, if applicable) shall also authorize and direct TRU
               Canada, or the Monitor on its behalf, to pay to the Administrative Agent (as
               defined in the ABL Credit Agreement) or the Canadian Agent (as defined in the
               ABL Credit Agreement), as applicable, an amount sufficient to satisfy the then
               outstanding Canadian Liabilities (as defined in the ABL Credit Agreement) and
               Other Liabilities (as defined in the ABL Credit Agreement) of TRU Canada (other
               than contingent indemnity obligations with respect to then unasserted claims) on
               the closing of the TRU Canada Sale; and

                       (iv)    Not later than May 31, 2018 (the “Anticipated Sale Closing
               Date”), the Qualifying TRU Canada Sale shall have closed and the Canadian
               Facility Termination Date shall have occurred; provided that the Debtors may
               extend the Anticipated Sale Closing Date to July 15, 2018 so long as, as of May
               31, 2018, (w) all Revolving Credit Loans (as defined in the ABL Credit
               Agreement) shall have been indefeasibly and irrevocably paid and satisfied in full,
               all Letters of Credit (as defined in the ABL Credit Agreement) have been
               collateralized in a manner that is satisfactory to the Issuing Bank (as defined in the
               ABL Credit Agreement) and all Commitments (as defined in the ABL Credit
               Agreement) shall have been terminated, (x) the aggregate outstanding principal
               amount of Term Loans (as defined in the ABL Credit Agreement) shall not exceed
               $100,000,000, (y) the cash balance of the Loan Parties (as defined in the ABL
               Credit Agreement) shall be at least $36,200,000 and (z) the Loan Parties shall have
               paid to the Administrative Agent (as defined in the ABL Credit Agreement), for
               the ratable benefit of the Term Lenders (as defined in the ABL Credit Agreement),
               a fee in the amount of $5,000,000 (which such extension payment shall be due and
               payable in dollars on May 31, 2018 and once paid, shall not be refundable or
               revocable);

         provided that if TRU Canada fails to meet any of the Sale Milestones, such failure shall
 not constitute a breach of this Section 3(f) if either (A)(x) the Borrower, within 5 Business Days
 of the failure to meet the applicable Sale Milestone, delivers a written notice to the
 Administrative Agent of its intent to commence a liquidation of its inventory (the “Canadian
 Wind-Down Notice”), (y) within 5 Business Days after the delivery of the Canadian Wind-
 Down Notice, delivers to the Administrative Agent, in each case in form and substance
 satisfactory to the Administrative Agent (I) a budget setting forth, in reasonable detail, a plan to
 liquidate substantially all of TRU Canada’s inventory (the “Canadian Wind-Down Budget”)
 (which Canadian Wind-Down Budget shall also be in form and substance satisfactory to the
 Required Lenders) and (II) liquidation agreements pursuant to which such liquidation will occur,
 and (z) within 5 Business Days after the delivery of a Canadian Wind-Down Notice, seeks an
 order from the Canadian Court and the Bankruptcy Court (if required) (the “Canadian Wind-
 Down Orders”) authorizing and directing it to conduct the liquidation of its inventory in
 accordance with the foregoing clause (the actions described in clauses (x), (y) and (z) and such
 liquidation, collectively, the “Canadian Wind-Down”) or (B) the Required Lenders (as defined
 in the ABL Credit Agreement) instruct TRU Canada not to commence a liquidation (which
 instruction may be revoked at any time thereafter, in which case the preceding clause (A) shall
 apply).

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                (g)    At all times following the delivery of the Canadian Wind-Down Notice,
 the Canadian Borrower shall (i) pursue the liquidation of the Canadian Borrower’s inventory in a
 manner that is consistent with the Canadian Wind-Down Budget and the Canadian Wind-Down
 Orders in all material respects and (ii) comply with the additional reporting requirements
 described in Section 3(c) of this Agreement.

                 (h)    The Loan Parties shall, promptly following the delivery of any written
 notice, reports or other written information to the administrative agent or the lenders under the
 ABL Credit Agreement, or the receipt of any written notice from the administrative agent or the
 lenders under the ABL Credit Agreement, deliver a a copy of such notice, report or other written
 information to the Administrative Agent.

                  (i)    The Loan Parties shall, except with the consent of Required Lenders in
 their sole discretion, (i) commence liquidation sales at all remaining Stores in the United States
 by no later than March 27, 2018, (ii) complete liquidation sales at all remaining Stores in the
 United States by no later than June 30, 2018 (provided, that liquidation sales may continue at a
 reasonable number of Stores so long as such sales are completed no later than July 15, 2018) and
 (iii) reject all third-party leases and all leases with Propco I and Propco II not theretofore
 assumed and assigned by no later than June 30, 2018, provided however, that the Loan Parties
 shall not be obligated to, and shall not, reject any third-party leases or leases with Propco I and
 Propco II that they determine, after consultation with (and subject to the consent, not to be
 unreasonably withheld of) the Required Lenders and the Unsecured Creditors Committee, are
 capable of assignment for value in excess of the incremental cost of maintaining such leases.

                 (j)     The Loan Parties shall give the Administrative Agent prior notice of and a
 reasonable opportunity to review any motions to be filed with, and orders to be sought from, the
 Bankruptcy Court or the Canadian Court, as applicable, with respect to the Domestic Wind-
 Down, the Sale Process or, if applicable, the Canadian Wind-Down and all such motions and
 orders (other than the Canadian Wind-Down) shall be in form and substance reasonably
 satisfactory to the Required Lenders (except in exigent circumstances in which case reasonably
 practicable notice (as early as possible under the circumstances) to the Administrative Agent will
 be given).

                (k)     The Loan Parties shall not amend, modify, revise, update or change in any
 respect any of the Domestic Wind Down Budget, the Canadian Going Concern Budget or the
 Canadian Wind Down Budget, unless (i) any such amendment, modification, revision, update or
 change shall have been provided to the Administrative Agent and the B-4 Advisors with a
 reasonable opportunity to review and (ii) the Required Lenders (acting in their sole discretion)
 shall have consented to any such amendment, modification, revision, update or change. With
 respect to periods after June 23, 2018, the Loan Parties shall provide an update to the Domestic
 Wind Down Budget, which (i) shall be provided to the Administrative Agent and the B-4
 Advisors with a reasonable opportunity to review and (ii) shall be subject to the approval of the
 Required Lenders (acting in their sole discretion) (and shall thereafter constitute the “Domestic
 Win-Down Budget” for all purposes hereunder). The applicable portions of the Domestic Wind-
 Down Budget or (if applicable) the Canadian Wind-Down Budget shall be automatically reduced
 (but not increased) to the extent the Loan Parties amend, modify or terminate any Master Lease
 or any Material Contract to provide for disbursements that are less than those contemplated by

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 the existing Domestic Wind-Down Budget. “Material Contract” shall mean any contract
 providing for annual disbursements by the Loan Parties of greater than $2,500,000.

                 (l)    Subject to the Final Waiver Approval Order, the Loan Parties shall cause
 the Domestic Wind-Down Budget to be funded with cash proceeds of sales of real property,
 equity interests and other non-working capital assets, in addition to sales of inventory, except to
 the extent used to prepay the obligations under the DIP Term Loan Credit Agreement.

               (m)      The Loan Parties shall consult and cooperate in good faith with the
 Lenders respect to a plan of reorganization or other exit from the Bankruptcy Cases for Geoffrey,
 LLC, Geoffrey International, LLC and Geoffrey Holdings, LLC.

                All reports, access rights, notices and information required to be delivered or
 provided to the Administrative Agent pursuant to this Section 3 shall also be delivered or
 provided by the Loan Parties to the professional advisors of the Ad Hoc Group of B-4 Term
 Lenders (as defined in the Bankruptcy Court Order) (the “B-4 Advisors”) promptly following
 delivery or provision to the Administrative Agent and/or their respective advisors and
 representatives.

        4.     Additional Events of Default. From and after the Waiver Effective Date (and
 without in any way limiting the provision of Article VIII of the DIP Term Loan Credit
 Agreement), it shall constitute an immediate Event of Default under the DIP Term Loan Credit
 Agreement if any of the following shall occur (as though the following had been fully set forth in
 the DIP Term Loan Credit Agreement):

                (a)    the Loan Parties shall fail to comply (x) in any material respect with any
 of the undertakings (other than with respect to Sections 3(f) and 3(i)) set forth in this Agreement
 or (y) in any respect with any of the undertakings set forth in Sections 3(f) and 3(i) and, in the
 case of the undertakings set forth in Sections 3(a)(iv), 3(b)(ii), 3(c)(iii), and 3(h), such failure
 shall continue for a period of 2 days after (i) in the case of any failure to comply with any
 undertaking set forth in Sections 3(a)(iv), 3(b)(ii) or 3(c)(iii), the earlier of receipt of written
 notice from the Administrative Agent and (ii) in the case of the undertaking set forth in section
 3(h) knowledge of the applicable Loan Party of such failure;

                (b)     the Loan Parties shall (x) cease to proceed with the Domestic Wind-Down,
 in the manner set forth in and consistent in all material respects with the Domestic Wind-Down
 Budget, (y) make any payment (other than any payment to facilitate an orderly wind-down that
 is, considered alone or together with all other payments not consistent with the Domestic Wind-
 Down Budget, immaterial) that is not consistent with the Domestic Wind-Down Budget, or (z)
 make any payments to any individual legal or financial advisor of the Debtors (including
 advisors to their various independent directors) or the Unsecured Creditors Committee that, as of
 any date of determination and solely to the extent accrued after March 15, 2018, exceed on a
 cumulative basis the amounts provided therefor in the Domestic Wind-Down Budget, the
 Canadian Going Concern Budget or, if applicable, the Canadian Wind-Down Budget;

               (c)      (i) at any time, the net cash flow before debt of the Loan Parties for any
 Test Period shall be less than as set forth on Schedule I for such Test Period, (ii) on the last day

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 of any week, the cash balance of the TRU Canada shall be less than projected by the Canadian
 Going Concern Budget or, beginning with the first full week starting on the Sunday after the
 delivery of the Canadian Wind-Down Budget, the Canadian Wind-Down Budget, by more than
 $7,000,000 (iii) at any time, the cash balance of TRU Canada shall be lower than $5,000,000 or
 (iv) the Loan Parties shall disburse any amounts to legal or financial advisors of the Debtors
 (including advisors to their various independent directors) or the Unsecured Creditors Committee
 in violation of Section 24 of the Bankruptcy Court Order. For purposes of this Section 4(d),
 “Test Period” shall mean, as of any date, (i) beginning with the last day of the week ending on
 March 31, 2018, the two-week period ending on March 31, 2018, (ii) beginning with the last day
 of the week ending on April 7, 2018, the three-week period ending on April 7, 2018, and (iii) on
 and after the last day of any week thereafter, the period beginning on March 18, 2018 and ending
 on the last day of the week ended most recently on or prior to such date;

                 (d)    at any time, actual total corporate and winddown expenses (excluding
 professional fees) exceed the greater of (i) 115% of the amounts projected in the Domestic Wind
 Down Budget dated March 20, 2018 or (b) $2 million above the amount set forth in the Domestic
 Wind Down Budget, tested monthly on a cumulative basis, starting July 1, 2018 tested at the end
 of each fiscal month thereafter;

                (e)     the Loan Parties shall (x) unless a Canadian Wind-Down Notice has been
 delivered, cease to pursue the Qualifying TRU Canada Sale, in a manner consistent in all
 material respects with the Sale Milestones and otherwise in compliance in all material respects
 with the Canadian Going Concern Budget, (y) following delivery of a Canadian Wind-Down
 Notice, cease to proceed with the Canadian Wind-Down, in the manner set forth in and
 consistent in all material respects with the Canadian Wind-Down Budget or (z) make any
 payment from Collateral or the proceeds of Collateral (other than any payment (which, after the
 delivery of the Canadian Wind-Down Notice, shall only be to facilitate an orderly wind-down)
 that is, considered alone or together with all other payments not consistent with the Canadian
 Going Concern Budget (or if applicable the Canadian Wind-Down Budget), immaterial) that is
 materially in excess of the amount provided in the Canadian Going Concern Budget or (if
 applicable) the Canadian Wind-Down Budget (solely to the extent such payment is subject to the
 Canadian Going Concern Budget or (if applicable) the Canadian Wind-Down Budget);

               (f)     the ABL Domestic Facility Termination Date (as defined below) shall not
 have occurred on or prior to June 9, 2018;

                (g)      the Canadian Facility Termination Date shall not have occurred on or prior
 to June 30, 2018 (or, if the Canadian Wind-Down Notice has been delivered, July 31, 2018);

                (h)    on or prior to April 25, 2018, the Bankruptcy Court shall not have entered
 a final order, in form and substance consistent with the Interim Domestic Waiver Approval
 Order, the Extended Interim Domestic Waiver Approval Order, the Second Extended Interim
 Domestic Waiver Approval Order and the Third Extended Interim Domestic Waiver Approval
 order (each as defined below), with modifications thereto to reflect the final nature thereof, and
 any other modifications thereto satisfactory to the Administrative Agent and the Required
 Lenders, authorizing the Loan Parties to enter into this Agreement and to perform the obligations
 hereunder, which final order shall not have been vacated or reversed, shall not be subject to any

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 stay, and shall not have been modified or amended in any manner without the consent of the
 Administrative Agent and the Required Lenders (the “Final Waiver Approval Order” and the
 date of the satisfaction of the condition in this paragraph (i), the “Final Waiver Approval
 Order Date”);

               (i)    the Waiver Approval Order shall have been stayed, reversed, vacated,
 rescinded or modified in any material respect without the prior written consent of the Required
 Lenders; or

                (j)     on or prior to April 16, 2018, the Loan Parties shall not have obtained
 consent to extend the deadline to assume or reject (x) the master lease with Propco II, and (y)
 those third-party leases which are necessary to the liquidation process, in each case, through and
 including a date no earlier than June 30, 2018; or

                (k)     (i) on or prior to April 16, 2018, the Loan Parties shall not have obtained
 consent to extend the deadline to assume or reject the master lease with Propco I through and
 including a date no earlier than April 30, 2018 (the “Initial PropCo I Extension Date”), and (ii)
 on or prior to the Initial PropCo I Extension Date, the Loan Parties shall not have obtained
 further consent to extend the deadline to assume or reject the master lease with Propco I through
 and including a date no earlier than June 30, 2018.

         The “ABL Domestic Facility Termination Date” means the date on which the Domestic
 Commitments (as defined in the ABL Credit Agreement) have been irrevocably terminated, the
 Domestic Borrowers (as defined in the ABL Credit Agreement) shall have indefeasibly and
 irrevocably paid and satisfied in full in cash all Obligations (as defined in the ABL Credit
 Agreement) (other than Canadian Liabilities (as defined in the ABL Credit Agreement) and
 contingent indemnity obligations with respect to the then unasserted claims), the Domestic
 Borrowers shall have indefeasibly and irrevocably paid and satisfied in full in cash the Other
 Liabilities (as defined in the ABL Credit Agreement) then due and payable (other than Canadian
 Liabilities), all Domestic Letters of Credit (as defined in the ABL Credit Agreement) shall have
 expired or terminated (or been collateralized in a manner satisfactory to the Issuing Banks) and
 all Domestic Letter of Credit Outstandings have been reduced to zero (or been collateralized in a
 manner satisfactory to the Issuing Banks (as defined in the ABL Credit Agreement)).


        6.      Treatment of Loans and Commitments.

                (a)     With effect as of the Waiver Effective Date, and notwithstanding the
 waivers and consents in this Agreement, all Loans shall be automatically converted into Base
 Rate Loans bearing interest, effective from March 15, 2018, at the Default Rate and all Loans
 shall continue as Base Rate Loans bearing interest at the Default Rate at all times thereafter. The
 Borrower shall reimburse each Lender for any breakage costs resulting from such conversion
 calculated consistent with Section 3.05 of the DIP Term Loan Credit Agreement.

                (b)   Notwithstanding anything to the contrary in Sections 2.02 and 2.06 of the
 DIP Term Loan Credit Agreement, interest on Loans shall be payable on the last Business Day
 of each calendar month.

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         7.     Amendments to DIP Term Loan Credit Agreement. With effect as of the Waiver
 Effective Date, the DIP Term Loan Credit Agreement is amended as follows:


           (a) The definition of “Asset Sale” shall be amended by replacing clause (v) thereof
               with the following:

              “solely for purposes of Section 2.03(b) hereof, any transaction permitted by
              Section 7.05 (other than transactions permitted by Sections 7.05(h), (i), (j), (l)
              (other than with respect to sales of inventory to the extent the proceeds are
              reasonably necessary to fund the Domestic Wind-Down Budget), (n), (o), (p) and
              (q), and, to the extent relating to a lease that is required to be capitalized on the
              lessor’s financial statements prepared in accordance with GAAP, Section
              7.05(g));”

           (b) The definition of “Specified Indebtedness” shall be amended by deleting clauses
               (ii) and (iii) therein in their entirety.

           (c) The first paragraph of Section 2.03(b) of the DIP Term Loan Credit Agreement is
               hereby deleted and replaced in its entirety with the following:

               “Following the receipt of any Net Cash Proceeds of any Asset Sale after the
       Closing Date and solely to the extent that the aggregate Net Cash Proceeds for all such
       Asset Sales since the Closing Date or the most recent prepayment made pursuant to this
       Section 2.03(b), as applicable, is greater than or equal to $5,000,000 after giving effect to
       the most recent Asset Sale, such Net Cash Proceeds (other than, prior to the Discharge of
       the ABL Obligations (as defined in the Intercreditor Agreement), the Net Cash Proceeds
       of ABL Priority Collateral) shall be applied to the prepayment of the Loans on a ratable
       basis within five (5) Business Days. For the avoidance of doubt, the Net Cash Proceeds
       of the TRU Canada Sale shall constitute Net Cash Proceeds for purposes of this provision
       regardless whether TRU Canada constitutes an Applicable Subsidiary.

           (d) Section 6.01(a) of the DIP Term Loan Credit Agreement shall be replaced in its
               entirety with the following:

                      “(a) [reserved],”.

           (e) Section 6.01(b) of the DIP Term Loan Credit Agreement shall be replaced in its
               entirety with the following:

                      “(b) [reserved],”.

           (f) Section 6.01(d) of the DIP Term Loan Credit Agreement shall be replaced in its
               entirety with the following:

                      “(d) [reserved],”.



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          (g) Section 6.01(g) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

                     “(g) [reserved],”.

          (h) Section 6.01(h) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

                     “(h) [reserved],”.

          (i) Section 6.01(i) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:


                     “(i) [reserved],”.

          (j) Section 6.01(k) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

                     “(k) [reserved],”.

          (k) Section 6.02(d) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

                     “(d) [reserved],”.

          (l) Sections 6.13(a), (b) and (c) of the DIP Term Loan Credit Agreement shall be
              replaced in their entirety with the following:

                     “a weekly call (at a time to be mutually agreed) with the Administrative
             Agent and its advisors and the B-4 Advisors to discuss (i) the status of the
             implementation of the Domestic Wind-Down Budget (as defined in the Second
             Amended and Restated Waiver, Consent and Amendment Agreement hereto,
             dated as of April [], 2018) and related going out of business sales, which will
             include a discussion of the maximization of value of inventory and any other
             assets with respect to any going out of business sales, (ii) the efforts to effectuate
             the TRU Canada Sale (as defined in the Second Amended and Restated Waiver,
             Consent and Amendment Agreement hereto, dated as of April [ ], 2018) or the
             status of the implementation of the Canadian Wind-Down Budget (as defined in
             the Second Amended and Restated Waiver, Consent and Amendment Agreement
             hereto, dated as of April [ ], 2018), as applicable, and (iii) such other matters as
             the B-4 Advisors shall reasonably request prior to such call, including, if
             applicable, matters related to the Geoffrey Collateral, TRU Taj LLC and/or
             Holdings”.

          (m)Section 6.15 of the DIP Term Loan Credit Agreement shall be replaced in its
             entirety with the following:


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                     “6.15 [Reserved]”.

          (n) Section 6.16 of the Credit Agreement is hereby deleted and replaced in its entirety
              with the following:

             “[Reserved].”

          (o) Section 7.01 shall be amended by replacing the “;” at the end of paragraph (hh)
              thereof with “; and” and by adding the following new paragraph (ii):

                     “(ii) following (or substantially contemporaneously with) the Canadian
             Facility Termination Date (as defined in the Second Amended and Restated
             Waiver, Consent and Amendment Agreement hereto, dated as of April [ ], 2018),
             any Liens on property of any Canadian Loan Party or on the Capital Stock of such
             Canadian Loan Party (as defined in the ABL Credit Agreement) to secure any
             Post-Termination Canadian Indebtedness.”

          (p) Section 7.03 shall be amended by deleting the “and” at the end of paragraph (w)
              thereof, replacing the “.” at the end of paragraph (x) thereof with “; and” and by
              adding the following new paragraph (y):

                     “(y) following (or substantially contemporaneously with) the Canadian
             Facility Termination Date, Indebtedness of the Canadian Borrower (as defined in
             the ABL Credit Agreement) incurred to refinance or replace the ABL Credit
             Agreement Obligations of the Canadian Borrower; provided, that such
             Indebtedness shall not be guaranteed by any Loan Party or secured by any
             property of any Loan Party (the “Post-Termination Canadian Indebtedness”).”

          (q) Section 7.02(b)(iii) of the DIP Term Loan Credit Agreement shall be replaced in
              its entirety with the following:

                     “(iii) [Reserved],”

          (r) Section 7.02(q)(ii) of the DIP Term Loan Credit Agreement shall be replaced in
              its entirety with the following:

                     “(q)    [Reserved]; and”

          (s) Section 7.02(r) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

                      “(r)   Investments in the form of loans or advances by any Loan Party
             that is a Debtor in the Cases to Holdings in an amount necessary for Holdings to
             pay Permitted Holdings Expenses consistent with the Domestic Wind-Down
             Budget (as defined in the Second Amended and Restated Waiver, Consent and
             Amendment Agreement hereto, dated as of April [ ], 2018); provided that the
             claims in respect of such loans constitute allowed superpriority administrative
             expense claims against Holdings pursuant to Bankruptcy Code Sections 364(c)(1),
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              503 and 507 and are secured by Liens that are junior only to any third-party
              debtor-in-possession financing of Holdings,”

          (t) Section 7.05(l) of the DIP Term Loan Credit Agreement is hereby deleted and
              replaced in its entirety with the following:

              “the sales of Real Property, inventory, fixtures and related assets by the Borrower
              after the Petition Date; provided that (i) all such sales (A) of inventory are made
              in accordance with customary liquidation agreements with professional
              liquidators, and (B) of other assets, are made on arm’s-length terms pursuant to
              bid procedures determined in consultation with the B-4 Advisors (as defined in
              the Second Amended and Restated Waiver, Consent and Amendment Agreement
              hereto, dated as of April [ ], 2018) and reasonably acceptable to the Required
              Lenders (whose consent shall be assumed barring objection by or at the
              instruction of the Required Lenders), and (ii) the Net Cash Proceeds thereof are
              applied in accordance with Section 2.03(b).

          (u) Section 7.05(n), (o) and (p) of the DIP Term Loan Credit Agreement are hereby
              replaced with the following:

              “(n)    [reserved];

              (o)     [reserved];

              (p)     [reserved]; and

              (q)    the sale or Disposition of all or substantially all of the assets of, and/or all
          of the Equity Interest in, Toys “R” Us (Canada) Ltd. / Toys “R” Us (Canada) Ltee.”

          (v) Sections 7.06(c), (d), (e) and (f) of the DIP Term Loan Credit Agreement shall be
              replaced in their entirety with the following:

                      “(c) to the extent actually used by Holdings to pay such expenses, the
              Loan Parties and their Subsidiaries may make Restricted Payments to or on behalf
              of Holdings in an amount necessary to pay Permitted Holdings Expenses that are
              allocable and chargeable to the Loan Parties in accordance with Holdings’
              ordinary course practice and contemplated in the Domestic Wind-Down Budget
              (as defined in the Second Amended and Restated Waiver, Consent and
              Amendment Agreement hereto, dated as of April [ ], 2018);

                     (d)      Permitted Tax Distributions to Holdings to the extent set forth in
              the Domestic Wind-Down Budget (as defined in the Second Amended and
              Restated Waiver, Consent and Amendment Agreement hereto, dated as of April [
              ], 2018), so long as Holdings uses such distributions to pay its taxes;

                      (e)     [Reserved];

                      (f)     [Reserved]; and”
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          (w) Section 7.07(j) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

             (j)    transactions set forth on Schedule 7.07 hereto and, with the consent of the
             Required Lenders, any amendments and replacements thereto;

          (x) Section 7.07(l) of the DIP Term Loan Credit Agreement shall be replaced in its
              entirety with the following:

             (l)     payment and performance under the Specified Intercompany Agreements,
             in each case, as in effect on the Petition Date or as may be amended,
             supplemented, modified or waived with the consent of the Required Lenders in
             their sole discretion (whose consent shall be assumed barring objection by or at
             the instruction of the Required Lenders after not fewer than 5 business days’
             advance notice);

          (y) Section 7.07 of the Credit Agreement is hereby amended by (i) deleting “.” at the
              end of clause (m) thereof and replacing it with “; and” and (ii) adding the
              following:

             “(n) the provision to Subsidiaries of Holdings of services with respect to the
             Loan Parties’ private brands, including design, development, product sourcing
             and related services, provided such services shall, from and after April 30, 2018
             (or such later date as agreed by the Required Lenders in their sole discretion), be
             paid for on arm’s-length-terms.”

          (z) Section 7.11(b) and (c) of the DIP Term Loan Credit Agreement shall be replaced
              in their entirety with the following:

             “(b) amend, supplement, waive any provision of or otherwise modify the terms of
             any Specified Intercompany Agreement in any manner that would have an
             adverse effect (other than rejection of the agreements set forth in items 5, 6 and 7
             in Part II of Schedule 7.07 with effect from and after closing of the applicable
             Stores), except with the Required Lenders’ consent;

             (c) fail to enforce any of the rights of the Loan Parties under the Specified
             Intercompany Agreements upon breach thereof by any other party thereto, other
             than with respect to (i) non-monetary defaults that are not material to the interests
             of the Lenders or (ii) monetary defaults if the defaulting party is a Debtor and the
             liability for any overdue amount constitutes a secured, super-priority
             administrative claim against such Debtor, subject only to any third-party debtor-
             in-possession financing and any Lien or claim to which such third-party financing
             is subject;”

          (aa)         Section 7.17 of the DIP Term Loan Credit Agreement shall be replaced in
              its entirety with the following:

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                      “7.17 [Reserved]”.

           (bb)         Section 7.18 of the DIP Term Loan Credit Agreement shall be replaced in
               its entirety with the following:

                      “7.18 [Reserved]”.

           (cc)        Section 8.01(m) of the DIP Term Loan Credit Agreement is hereby
               deleted and replaced in its entirety with the following:

              “(m) Alternate Financing. Except in respect of the ABL Credit Agreement or
              any Indebtedness incurred by the Canadian Borrower (as defined in the ABL
              Credit Agreement) pursuant to Section 7.03(y), any Loan Party shall file a motion
              in the Chapter 11 Cases without the express written consent of Required Lenders,
              to obtain additional financing from a party other than Lenders under Section
              364(d) of the Bankruptcy Code.”

           (dd)       Section 8.01(q) of the DIP Term Loan Credit Agreement is hereby deleted
               and replaced in its entirety with the following:

              “(q) Order With Respect to Chapter 11 Cases. Except for the Waiver Approval
              Order (as defined in the Second Amended and Restated Waiver, Consent and
              Amendment Agreement hereto, dated as of April [ ], 2018), an order with respect
              to any of the Chapter 11 Cases shall be entered by the Bankruptcy Court without
              the express prior written consent of the Required Lenders (and with respect to any
              provisions that affect the rights or duties of the Administrative Agent, the
              Administrative Agent), (i) to revoke, reverse, stay, modify, supplement or amend
              any of the Bankruptcy Court Orders or the Adequate Protection Order in a manner
              adverse to the Lenders or (ii) to permit any administrative expense or any claim
              (now existing or hereafter arising, of any kind or nature whatsoever) to have
              administrative priority equal or superior to the priority of the Obligations (other
              than the Carve Out, the Wayne Loans, the TRU Canada Loans or the ABL
              Obligations); or”

           (ee)         Section 8.01(v) of the Credit Agreement is hereby deleted and replaced in
               its entirety with the following:

              “[Reserved].”


        8.      Representations and Warranties. Each Loan Party party hereto represents and
 warrants to the Agents and the Lenders, on and as of the Waiver Effective Date, that:

              (a)     Each Loan Party has all requisite organizational power and authority to
       perform all its obligations under the DIP Term Loan Credit Agreement and to execute
       and deliver and perform all its obligations under this Agreement.


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               (b)     The transactions contemplated by this Agreement and by the DIP Term
       Loan Credit Agreement are within such Loan Party’s corporate powers and have been
       duly authorized by all necessary corporate, membership, partnership or other necessary
       action. Subject to the entry of the Waiver Approval Order and the terms thereof, this
       Agreement has been duly executed and delivered by each Loan Party that is a party
       hereto or thereto and constitutes, and when executed and delivered by such Loan Party,
       this Agreement and the DIP Term Loan Credit Agreement will constitute, a legal, valid
       and binding obligation of such Loan Party, enforceable in accordance with its terms
       subject to the terms of the Orders and the Waiver Approval Order.

              (c)    The transactions to be entered into and contemplated by this Agreement
       and the DIP Term Loan Credit Agreement will not violate the Charter Documents of any
       Loan Party.

               (d)    On and as of the Waiver Effective Date, no Default or Event of Default
       (other than the Specified Events of Default) has occurred and is continuing or will result
       from the entry by the Loan Parties into this Agreement.

       9.     Conditions to Effectiveness.

               (a) Subject to paragraphs (b) and (c) below, this Agreement shall become
       effective (the date of such effectiveness being referred to herein as the “Waiver Effective
       Date”) upon satisfaction or waiver of each of the following conditions:

               (i)    execution and delivery of this Agreement by Lenders constituting the
       Required Lenders under the DIP Term Loan Credit Agreement and the Loan Parties and,
       in each case, delivered to the Administrative Agent;

               (ii)   (x) the Final Domestic Waiver Approval Order shall have been entered by
       the Bankruptcy Court, (y) the interim order entered by the Bankruptcy Court on March
       21, 2018 in connection with the Original Waiver, Consent and Amendment [Docket No.
       2318] (the “Interim Domestic Waiver Approval Order”), as amended by the amended
       interim order entered by the Bankruptcy Court on March 27, 2019 [Docket No. 2427]
       (the “Extended Interim Domestic Waiver Approval Order”) and as further amended
       by the second amended interim order entered by the Bankruptcy Court on April 13, 2018
       [Docket No. 2713] (the “Second Extended Interim Domestic Waiver Approval
       Order”) and by the third amended interim order entered by the Bankruptcy Court on
       April [ ], 2018 [Docket No. [ ]] (the “Third Extended Interim Domestic Waiver
       Order”) shall not have been vacated or reversed, shall not be subject to any stay, and
       shall not have been modified or amended in any manner without the consent of the
       Administrative Agent and the Required Lenders, and (z) the ABL/FILO Waiver (as
       defined in the Debtors’ motion seeking the Waiver Approval Order) shall have become
       effective substantially in the form provided to the Lenders in connection with execution
       hereof; and



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               (iii) the Loan Parties shall have paid all previously invoiced expenses payable
        pursuant to this Agreement or Section 10.04 of the DIP Term Loan Credit Agreement.

                (b) Immediately upon the satisfaction or waiver of the conditions set forth in the
        foregoing clauses (a)(i) and (a)(iii) (the date of the satisfaction of such conditions, the
        “Amendment and Restatement Date”), the date set forth in Section 1 of the Extension
        to Waiver Agreement, dated as of March 14, 2018 (the “Extension”), relating to the DIP
        Term Loan Credit Agreement shall be automatically extended to April 30, 2018 at 11:59
        pm New York time; provided that the Extension shall terminate if a fact or circumstance
        occurs that would constitute an Event of Default under this Agreement, had the Waiver
        Effective Date occurred.

                 (c) For the avoidance of doubt, upon the Amendment and Restatement Date, the
        Existing Waiver, Consent and Amendment shall be amended and restated and superseded
        in its entirety by this Agreement; provided that notwithstanding the foregoing, this
        Agreement shall not act as a waiver of any default or event of default, or cure any breach
        of the terms of the Original Waiver, Consent and Amendment or the Existing Waiver,
        Consent and Amendment that may have occurred prior to the Amendment and
        Restatement Date.

         10.    Miscellaneous. This Agreement and the Waiver shall be limited precisely as
 written and, except as expressly provided herein, shall not be deemed (a) to be a consent granted
 pursuant to, or a waiver or modification of, any term or condition of the DIP Term Loan Credit
 Agreement, any other Loan Documents or any of the instruments or agreements referred to
 therein or (b) other than as expressly stated herein, to prejudice any right or rights which the
 Agents or the other Secured Parties may now have or have in the future under or in connection
 with the DIP Term Loan Credit Agreement, the other Loan Documents or any of the instruments
 or agreements referred to therein including any rights from the existence or continuation of a
 Cash Dominion Event. The Loan Parties agree that their obligations set forth in Section 10.04 of
 the DIP Term Loan Credit Agreement shall extend to the preparation, execution and delivery of
 this Agreement and that the amounts payable pursuant to Section 10.04 of the DIP Term Loan
 Credit Agreement shall include the reasonable fees, charges and disbursements of the B-4
 Advisors incurred (whether before or after the Waiver Effective Date) in connection with this
 Agreement, the DIP Term Loan Credit Agreement and the other Loan Documents. This
 Agreement is hereby deemed to be a Loan Document for purposes of each Loan Document. All
 terms and provisions of the Loan Documents remain in full force and effect, except to the extent
 expressly modified by this Agreement (it being understood and agreed that nothing contained in
 the Domestic Wind-Down Budget, the Canadian Going Concern Budget or the Canadian Wind-
 Down Budget, as the case may be, shall modify the obligations of the Loan Parties under the
 Loan Documents). Each of the Loan Parties acknowledges that the Administrative Agent, the
 Collateral Agent and the Consenting Lenders have made no representations as to what actions, if
 any, they will take after the Waiver Effective Date, and the Administrative Agent and each
 Consenting Lender hereby specifically reserves any and all rights, remedies, and claims it has
 (after giving effect hereto) with respect to any Events of Default and other Defaults that may
 occur (other than the Specified Events of Default).


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        11. Remedies upon Events of Default. Upon the Administrative Agent’s delivery of
 written notice of the occurrence of an Event of Default (which written notice may be provided
 via email) to the Loan Parties, counsel to the Loan Parties and counsel to the Unsecured
 Creditors Committee, during the 5 Business Day period after delivery thereof, the Lenders shall
 negotiate in good faith with the Loan Parties and the Unsecured Creditors Committee the manner
 in which the Lenders intend to exercise their rights and remedies under the Loan Documents;
 provided, that this section 11 shall not be deemed a waiver of any rights or remedies of the
 Lenders under the Loan Documents upon an Event of Default, and the Lenders can ultimately
 proceed in their sole discretion if no agreement is reached with the Loan Parties and/or the
 Unsecured Creditors Committee.

         12.    Counterparts. This Agreement may be executed in any number of counterparts
 and by the different parties hereto in separate counterparts, each of which shall be an original and
 all of which, when taken together, shall constitute but one and the same instrument. A facsimile
 or pdf copy of a counterpart signature page shall serve as the functional equivalent of a manually
 executed copy for all purposes.

       13. Governing Law. THIS AGREEMENT AND ALL ACTIONS ARISING UNDER
 THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
 WITH, THE LAWS OF THE STATE OF NEW YORK AND (TO THE EXTENT
 APPLICABLE) THE BANKRUPTCY CODE.

                                [SIGNATURE PAGES FOLLOW]




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                                    Exhibit 3

                               Wind-Down Budget




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Project Sunrise
Weekly Wind Down Budget
($ in MMs)                                                                                                                                                                                                                    Weekly Budget

                                          1            2             3            4            5            6           7             8            9           10           11           12           13           14
                                      Mar Wk 3     Mar Wk 4      Apr Wk 1     Apr Wk 2     Apr Wk 3     Apr Wk 4    Apr Wk 5      May Wk 1     May Wk 2     May Wk 3     May Wk 4     Jun Wk 1     Jun Wk 2     Jun Wk 3
                                       3/24/18      3/31/18       4/7/18       4/14/18      4/21/18      4/28/18     5/5/18        5/12/18      5/19/18      5/26/18      6/2/18       6/9/18       6/16/18      6/23/18          Total
  Receipts                            $    97.8    $    95.9     $    94.5    $    94.7    $   106.8    $   109.6   $   104.8     $   95.3     $    93.3    $    90.9    $   89.3     $   85.6     $    80.0    $    58.2     $    1,296.7

  Disbursements
    Payroll & Benefits                     (4.6)        (25.6)        (4.7)       (26.1)        (5.6)       (24.8)        (3.4)       (19.3)        (2.7)       (17.7)        (3.2)       (14.7)        (2.6)        (15.0)          (170.0)
    Taxes                                  (0.9)         (2.0)        (1.0)        (6.4)       (34.8)        (6.5)        (1.0)        (1.8)        (0.6)       (41.3)        (0.7)        (1.4)        (0.5)        (28.5)          (127.2)
    Rent                                  (14.5)        (43.8)        (0.1)        (0.8)        (0.1)        (0.1)       (41.3)        (0.1)        (0.8)        (0.1)       (41.2)        (0.1)        (0.8)         (0.1)          (143.6)
    Advertising / Supervision (GOB)        (0.5)         (3.4)        (3.6)        (3.7)        (3.6)        (3.2)        (2.9)        (2.7)        (2.7)        (2.6)        (2.5)        (2.5)        (2.3)         (1.7)           (37.9)
    Liquidator Fees                        (0.8)         (1.8)        (2.0)        (2.1)        (2.0)        (1.8)        (1.8)        (1.7)        (1.6)        (1.6)        (1.5)        (1.5)        (1.4)         (1.4)           (23.0)
    Post-Petition Merchandise               -             -            -            -            -            -            -            -            -            -            -            -            -             -                -
                                                                                                                                                                                                                                                                          Case 17-34665-KLP




    Professional Fees                      (1.3)         (5.9)        (2.6)        (3.4)        (2.6)        (2.6)        (2.6)        (4.3)        (4.3)        (4.3)        (4.3)        (2.0)        (2.0)         (2.0)           (44.4)
    Financing Activity                     (0.2)         (2.4)        (0.1)        (0.1)         -            -           (2.2)         -            -            -            -            -            -             -               (5.0)
    Other Operating Disbursements         (37.6)        (23.4)       (14.3)        (7.0)        (4.0)        (3.0)        (4.2)        (3.6)        (3.0)        (2.9)        (5.2)        (3.4)        (3.0)         (2.7)          (117.4)
    Total Store / DC Disbursements    $   (60.3) $     (108.4) $     (28.3) $     (49.4) $     (52.6) $     (41.9) $     (59.5) $     (33.5) $     (15.7) $     (70.6) $     (58.7) $     (25.6) $     (12.6) $      (51.3)   $      (668.4)


  Net Cash Flow before Debt           $    37.4    $    (12.5) $      66.2    $    45.3    $    54.2    $    67.6   $    45.3     $   61.8     $    77.6    $    20.4    $   30.6     $   60.0     $    67.4    $      6.9    $      628.2

  Cash Schedule
    Beginning Cash Balance                105.4          47.0         30.3         30.6         30.0         32.9        100.5         20.9         57.7        110.3         55.6         36.2         71.2         113.6            105.4
    Net Cash Flow Before Debt              37.4         (12.5)        66.2         45.3         54.2         67.6         45.3         61.8         77.6         20.4         30.6         60.0         67.4           6.9            628.2
    ABL Paydown                           (95.8)         (4.2)       (66.0)       (45.8)       (51.3)         -            -            -            -            -            -            -            -             -             (263.2)
    FILO Paydown                            -             -            -            -            -            -         (125.0)       (25.0)       (25.0)       (75.0)       (50.0)       (25.0)       (25.0)       (100.0)          (450.0)
    Ending Cash Balance               $    47.0    $    30.3     $    30.6    $    30.0    $    32.9    $   100.5   $    20.9     $   57.7     $   110.3    $    55.6    $   36.2     $   71.2     $   113.6    $    20.5     $           20.5
                                                                                                                                                                                                                                                        Document




  ABL Schedule
    Beginning Balance                     165.0        167.4         163.2         97.2         51.3          -            -           -             -            -           -            -             -             -              165.0
    LC Collateralization                   98.2          -             -            -            -            -            -           -             -            -           -            -             -             -               98.2
    Paydown                               (95.8)        (4.2)        (66.0)       (45.8)       (51.3)         -            -           -             -            -           -            -             -             -             (263.2)
    Ending Balance                    $   167.4 $      163.2 $        97.2 $       51.3 $        -    $       -     $      -      $    -       $     -      $     -      $    -       $    -       $     -      $      -      $         -

  FILO Roll-Forward
     Beginning Balance                    450.0        450.0         450.0        450.0        450.0        450.0        450.0        325.0        300.0        275.0        200.0        150.0        125.0         100.0            450.0
     Paydown                                -            -             -            -            -            -         (125.0)       (25.0)       (25.0)       (75.0)       (50.0)       (25.0)       (25.0)       (100.0)          (450.0)
    Ending Balance                    $   450.0    $   450.0     $   450.0    $   450.0    $   450.0    $   450.0   $    325.0 $      300.0 $      275.0 $      200.0 $      150.0 $      125.0 $      100.0 $         -      $         -
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                                                                                                                                                                                                                                                                          Desc Main
Toys "R" Us (Canada) Ltd.
Cash Flow Forecast
For the thirteen-week period ending June 9, 2018
(Unaudited, in $'000s CAD)

                                    Week 26        Week 27     Week 28     Week 29     Week 30     Week 31     Week 32     Week 33    Week 34     Week 35     Week 36     Week 37    Week 38    13 - Week
                                    17-Mar-18      24-Mar-18   31-Mar-18    7-Apr-18   14-Apr-18   21-Apr-18   28-Apr-18   5-May-18   12-May-18   19-May-18   26-May-18   2-Jun-18   9-Jun-18     Total


Receipts                            15,129         15,070      17,106      17,278      14,461      15,286      15,472      15,338     15,527      15,544      15,372      15,663     15,451      202,698

Disbursements
 Merchandise vendors                11,600         14,471      17,706      14,723      10,104      12,488       8,820       7,543       8,369       7,357       7,251      7,210      7,044      134,687
 Non-merchandise vendors             4,533          4,283       3,533       3,948       3,398       6,032       3,048       3,093       2,962       3,111       3,361      3,361      3,995       48,659
 Rent                                    -              -       5,305           -           -           -           -       5,305           -           -           -      5,301          -       15,912
                                                                                                                                                                                                                                      Case 17-34665-KLP




 Payroll                             2,844          1,204       3,086       1,167       2,862       1,282       2,934       1,185       2,816       1,190       2,833      1,210      2,918       27,530
 Capital expenditures                  308            308         308         308         308         308         308         231         231         231         231        231        231        3,538
 Tax                                     -             25         973           -           -           -        (176)       (831)          -           -         (40)     1,386          -        1,337
Total Disbursements                 19,285         20,290      30,912      20,146      16,672      20,110      14,934      16,526     14,378      11,889      13,636      18,699     14,188      231,664

Operating Net Cash Flow              (4,155)        (5,220)    (13,805)    (2,868)      (2,211)     (4,823)       537      (1,188)      1,150       3,655       1,736     (3,036)     1,263       (28,966)

 Restructuring professional fees        606            520         325        350         300         300         325         350         300         225         225        275        225        4,326
 DIP fees, interest & payments            -              -       2,652          -           -           -           -       2,652           -           -           -      2,741          -        8,046

Net Cash Flow                        (4,762)        (5,740)    (16,783)    (3,218)      (2,511)     (5,123)       212      (4,191)        850       3,430       1,511     (6,052)     1,038       (41,338)

Beginning Cash                      54,273         49,512       43,772     26,989      23,771      21,260      16,137      16,349     12,159      13,008      16,438      17,950     11,897        54,273
 Net Cash Flow                      (4,762)        (5,740)     (16,783)    (3,218)     (2,511)     (5,123)        212      (4,191)       850       3,430       1,511      (6,052)     1,038       (41,338)
                                                                                                                                                                                                                    Document




Ending Cash                         49,512         43,772      26,989      23,771      21,260      16,137      16,349      12,159     13,008      16,438      17,950      11,897     12,936       12,936
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